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 9                                          Causemetics, Inc.
10
11                             UNITED STATES DISTRICT COURT
12                            CENTRAL DISTRICT OF CALIFORNIA
13
14   THRIVE NATURAL CARE, INC.                Case No. 2:20-cv-9091-PA-AS
15               Plaintiff,                   Hon. Percy Anderson
16        v.                                  JOINT BRIEF CONCERNING
                                              EVIDENTIARY OBJECTIONS
17   THRIVE CAUSEMETICS, INC.,
                                              Trial Date: November 9, 2021
18               Defendant.                   Time:       9:00 a.m.
                                              Place:      Courtroom 9A
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 1          Pursuant to the Court’s October 7, 2021 Minute Order (ECF No. 115), Plaintiff
 2   Thrive Natural Care, Inc. (“Plaintiff”) and Defendant Thrive Causemetics, Inc.,
 3   (“Defendant”) respectfully submit this joint brief concerning evidentiary objections to
 4   the parties’ respective trial exhibits.
 5             PLAINTIFF’S TRIAL EXHIBITS SUBJECT TO OBJECTION
 6   EXHIBIT NO. 28
 7          Brief Description
 8          Trial Exhibit No. 28 is an e-mail chain dated December 18, 2017 through
 9   December 19, 2017 regarding Plaintiff.
10          Purpose for which Admission Is Sought
11          Plaintiff seeks to admit Trial Exhibit No. 28 because it shows TCI’s ongoing
12   and continuous encounters with Plaintiff Thrive, including third parties reaching out
13   to TCI to point out the similarities. It is also being introduced to show that Plaintiff
14   Thrive’s efforts to build partnerships and investments have been thwarted by TCI’s
15   encroachment on its brand name and mission.
16          Basis for the Objection
17          Hearsay (FRE 802) (as to the e-mails between Margo Hays and Alex
18   McIntosh).
19          Offering Party’s Position
20          The e-mails between Margo Hays and Alex McIntosh are not being offered for
21   the truth of the facts asserted.
22          Objecting Party’s Position
23          Defendant does not seek to exclude the entirety of Trial Exhibit No. 28, but
24   instead seeks to exclude the portions of the e-mail chain that are inadmissible hearsay.
25   Fed. R. Evid. 802. Trial Exhibit No. 28 contain an e-mail sent by Alex McIntosh,
26   Plaintiff’s Chief Executive Officer, to a third party Margo Hays, on December 18,
27   2017 regarding Plaintiff’s alleged partnership with Amazon and Plaintiff’s purported
28   growth. Plaintiff seeks to rely upon Mr. McIntosh’s e-mail for the truth of the matters

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 1   asserted therein, namely, that Plaintiff’s alleged partnership with Amazon is
 2   successful, that Plaintiff has allegedly achieved a certain level of growth, and the
 3   alleged reasons for that growth. Accordingly, when offered by Plaintiff, the e-mail
 4   between Mr. McIntosh and Ms. Hays is inadmissible hearsay under Federal Rule of
 5   Evidence 802, and there are no exclusions or exceptions under Federal Rules of
 6   Evidence 801 or 803 that apply.
 7   EXHIBIT NO. 120
 8         Brief Description
 9         Trial Exhibit No. 120 is Ex. G to the Declaration of Alex McIntosh in support
10   of Plaintiff’s motion for partial summary judgment (ECF No. 41) of consumer reviews
11   left on Plaintiff’s Amazon product page.
12         Purpose for which Admission Is Sought
13         Trial Exhibit 120 demonstrates instances of actual confusion between Thrive
14   Natural Care and Thrive Causemetics, and their respective products.
15         Basis for the Objection
16         Irrelevant (FRE 401; 402) (related to TCI’s color cosmetics, which are not at
17   issue); Prejudice (FRE 403) (prejudicial, misleading, and confusing as to alleged
18   confusion stemming from TCI’s color cosmetics, which are not at issue); Foundation
19   (FRE 602) (no foundation as to intended meaning of consumer reviews); and
20   Authentication (FRE 901) (to the extent the exhibit reflects highlighting or other
21   modifications made by Plaintiff).
22         Offering Party’s Position
23         This document shows that there is confusion as to the source of Thrive Natural
24   Care’s skincare products. It also supports the conclusion that future confusion between
25   the parties’ skincare products is all but certain if there is already some confusion even
26   excluding skincare products. Even if Thrive Natural Care is not explicitly accusing
27   TCI’s cosmetics products of infringing, it is still the case that confusion between
28   TCI’s cosmetics products and TNC’s skincare products is strong evidence that

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 1   consumers would therefore be even more confused between TCI’s skincare products
 2   and TNC’s skincare products.
 3         Furthermore, much of the confusion evidenced in the Amazon reviews does not
 4   mention TCI’s makeup products at all. For example, the review that concludes with
 5   “Well done, Thrive Causemetics” only references skincare products.
 6         Thrive Natural Care’s CEO, Alex McIntosh, will testify as to the origin, nature,
 7   and providence of this document. It is relevant to consumer confusion, goes towards
 8   evidence of actual consumer confusion between Plaintiff and Defendant. TCI has not
 9   identified any actual prejudice caused by this evidence, beyond the fact of its
10   relevance to the likelihood of confusion analysis. No such unfair prejudice exists, and
11   certainly not in sufficient quantity to substantially outweigh the probative value of this
12   actual confusion evidence.
13         Objecting Party’s Position
14         Trial Exhibit No. 120 is inadmissible because it is irrelevant. Fed. R. Evid. 401,
15   402. The exhibit reflects alleged instances of actual confusion stemming from TCI’s
16   color cosmetics products, for example, “Thrive is an up and comer in the cosmetics
17   field. Their mascara is phenomenal and this facial moisturizer with sunscreen is a plus
18   in their line.” In its First Amended Complaint, Plaintiff removed nearly all of its
19   allegations concerning TCI’s color cosmetics products and does not contend that
20   TCI’s use of the term “thrive” in connection with its color cosmetics products is
21   infringing. See ECF No. 28 ¶ 62. Instead, Plaintiff’s claims are premised entirely on
22   TCI’s sale of skincare products. See generally ECF No. 28. Alleged instances of
23   actual confusion stemming from TCI’s color cosmetics are thus irrelevant to and not
24   probative of any actual confusion caused by TCI’s skincare products, the only
25   products subject to Plaintiff’s claims. For this same reason, Trial Exhibit No. 120 is
26   prejudicial, misleading, and confusing and should be excluded under Federal Rule of
27   Evidence 403, because it relates to alleged confusion stemming from color cosmetics
28   products that are not infringing and as to which Plaintiff has no claims in this action.

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 1         Trial Exhibit No. 120 is also inadmissible because Plaintiff cannot lay an
 2   adequate foundation for it. Fed. R. Evid. 602. Plaintiff has indicated that Mr.
 3   McIntosh “will testify as to the origin, nature, and providence of this document.”
 4   However, Mr. McIntosh has no knowledge of the meaning that an unidentified
 5   consumer who posted a review on Amazon intended to convey in that review. As
 6   such, Mr. McIntosh has no basis to assert that the individuals who posted these
 7   reviews are actually confused between the parties or their respective products.
 8         Trial Exhibit No. 120 is also inadmissible because it lacks authentication. Fed.
 9   R. Evid. 901. The exhibit is a manipulated collection of multiple documents, that
10   have been cut, pasted, and cribbed together, and improperly highlighted and annotated
11   by Plaintiff. The exhibit does not reflect how these individual reviews actually appear
12   on Plaintiff’s Amazon.com webpage, and the manner in which the exhibit has been
13   presented raises genuine concerns regarding its authenticity.
14         Finally, Trial Exhibit No. 120 is the subject of Defendant’s Joint Motion in
15   Limine No. 2 regarding alleged instances of actual confusion, and should be excluded
16   for the reasons explained in that motion as well.
17   EXHIBIT NO. 126
18         Brief Description
19         Trial Exhibit No. 126 is Ex. M to the Declaration of Alex McIntosh in support
20   of Plaintiff’s motion for partial summary judgment (ECF No. 41) of a June 19, 2019
21   e-mail exchange between Mr. McIntosh and third party Lisa Ertz.
22         Purpose for which Admission Is Sought
23         Exhibit No. 126 is being introduced to demonstrate evidence of actual
24   confusion.
25         Basis for the Objection
26         Irrelevant (FRE 401; 402) (relates to TCI’s color cosmetics, which are not at
27   issue); and Prejudice (FRE 403) (prejudicial, misleading, and confusing as to alleged
28   confusion stemming from TCI’s color cosmetics, which are not at issue).

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 1         Offering Party’s Position
 2         The evidence at issue here is relevant because it is probative of whether future
 3   confusion between the parties’ THRIVE-branded skincare products is likely, which is
 4   clearly a fact of consequence in this case. Ms. Ertz’ email was sent in June 2019. Ms.
 5   Ertz’ “3 must have beauty products” could certainly have been TCI skincare products
 6   and TCI has not shown otherwise. Indeed, one of TCI’s infringing skincare products
 7   that was available when Ms. Ertz wrote her email, TCI’s Defying Gravity Eye Lifting
 8   Cream, is advertised as “fight[ing] signs of stress, aging and dullness” and is “like
 9   beauty sleep in a bottle!” See TCI skincare product page at
10   https://thrivecausemetics.com/products/defying-gravity-eye-lifting-cream (last visited
11   October 8, 2021). As such, TCI’s supposition that these instances of actual confusion
12   relate only to its cosmetics products is unsupported. And even if that were true, the
13   evidence would remain relevant because it supports the conclusion that future
14   confusion between the parties’ skincare products is likely.
15         This evidence should not be excluded under Rule 403. TCI has not identified
16   any actual prejudice caused by this evidence, beyond the fact of its relevance to the
17   likelihood of confusion analysis. No such unfair prejudice exists, and certainly not in
18   sufficient quantity to substantially outweigh the probative value of this actual
19   confusion evidence.
20         Objecting Party’s Position
21         Trial Exhibit No. 126 is inadmissible because it is irrelevant. Fed. R. Evid. 401,
22   402. The exhibit reflects an alleged instance of actual confusion from third party Lisa
23   Ertz stemming from TCI’s color cosmetics products, specifically, “Wonderful to meet
24   the man behind my 3 must have beauty products in my case!” In its First Amended
25   Complaint, Plaintiff removed nearly all of its allegations concerning TCI’s color
26   cosmetics products and does not contend that TCI’s use of the term “thrive” in
27   connection with its color cosmetics products is infringing. See ECF No. 28 ¶ 62.
28   Instead, Plaintiff’s claims are premised entirely on TCI’s sale of skincare products.

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 1   See generally ECF No. 28. Alleged instances of actual confusion stemming from
 2   TCI’s color cosmetics are thus irrelevant to and not probative of any actual confusion
 3   caused by TCI’s skincare products, the only products subject to Plaintiff’s claims. For
 4   this same reason, Trial Exhibit No. 126 is prejudicial, misleading, and confusing and
 5   should be excluded under Federal Rule of Evidence 403, because it relates to alleged
 6   confusion stemming from color cosmetics products that are not infringing and as to
 7   which Plaintiff has no claims in this action.
 8         Finally, Trial Exhibit No. 126 is the subject of Defendant’s Joint Motion in
 9   Limine No. 2 regarding alleged instances of actual confusion, and should be excluded
10   for the reasons explained in that motion as well.
11   EXHIBIT NO. 142
12         Brief Description
13         Trial Exhibit No. 142 is Ex. M to the Declaration of Stephen McArthur in
14   support of Plaintiff’s motion for partial summary judgment (ECF No. 33-2), and
15   consists of multiple third-party online articles regarding Defendant.
16         Purpose for which Admission Is Sought
17         This document is being used to show context to Defendant’s damages analysis
18   and emails as it is expressly relied upon by Defendant’s Exhibit 380.
19         Basis for the Objection
20         Hearsay (FRE 802) (as to pages MCARTHUR421-424 of the exhibit, which are
21   offered for the truth of the statements therein and no exception applies); and
22   Foundation (FRE 602) (as to pages MCARTHUR421-424 of the exhibit; Plaintiff
23   cannot lay a foundation for a third-party article).
24         Offering Party’s Position
25         Trial Exhibit 142 is not hearsay because not offered for the truth of the matter
26   asserted. Alex McIntosh will testify as to the providence, nature, and origin of this
27   document. It is also necessary because it is a document referenced in one of
28   Defendant’s damage exhibits, Trial Exhibit 380. It is necessary to provide context to

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 1   that Exhibit. Thrive Natural Care’s CEO, Alex McIntosh, will testify as to the origin,
 2   nature, and providence of this document.
 3         Objecting Party’s Position
 4         Defendant does not seek to exclude the entirety of Trial Exhibit No. 142, but
 5   instead seeks to exclude pages MCARTHUR421-424 of the exhibit, which consist of
 6   two third-party articles regarding Defendant’s alleged relationship with Goldman
 7   Sachs. Pages MCARTHUR421-424 of Trial Exhibit No. 142 are inadmissible hearsay
 8   to which no exception applies. Fed. R. Evid. 802. Plaintiff seeks to offer these third-
 9   party articles at trial for the truth of the matters asserted therein, namely, that
10   Defendant was in talks with Goldman Sachs concerning a buyout, sale, initial public
11   offer, or other potential strategic option. Accordingly, Pages MCARTHUR421-424 of
12   Trial Exhibit No. 142 are inadmissible hearsay under Federal Rule of Evidence 802,
13   and there are no exclusions or exceptions under Federal Rules of Evidence 801 or 803
14   that apply.
15         Pages MCARTHUR421-424 of Trial Exhibit No. 142 are inadmissible for the
16   additional reason that Plaintiff cannot lay an adequate foundation for it. Fed. R. Evid.
17   602. Plaintiff has indicated that Mr. McIntosh “will testify as to the origin, nature,
18   and providence of this document.” However, Mr. McIntosh has no knowledge of the
19   meaning, purpose, or factual basis of articles written by third parties with whom he
20   has no affiliation, and thus, cannot provide a foundation for the articles.
21   EXHIBIT NO. 147
22         Brief Description
23         Trial Exhibit No. 147 is an online article from third party PR Newswire.com,
24   titled “CEO of Thrive Natural Care Makes Case for Business Beyond Sustainability.”
25         Purpose for which Admission Is Sought
26         Trial Exhibit No. 147 is offered to show media coverage of the Thrive marks at
27   issue and goes towards strength of the mark and value of the brand.
28         Basis for the Objection

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 1            Hearsay (FRE 802) (offered for the truth of the statements therein and no
 2   exception applies).
 3            Offering Party’s Position
 4            Not hearsay because not offered for the truth of the matter asserted. Media
 5   articles about the brand go to strength of mark and brand recognition and value,
 6   regardless of whether the facts contained therein are accurate.
 7            Objecting Party’s Position
 8            Trial Exhibit No. 147 is inadmissible hearsay to which no exception applies.
 9   Fed. R. Evid. 802. Plaintiff seeks to offer this third-party article at trial for the truth of
10   the matters asserted therein, namely, Mr. McIntosh’s statements concerning Plaintiff’s
11   sustainability mission and the results of Plaintiff’s sustainability efforts, and the
12   article’s description of Plaintiff’s alleged business endeavors, media coverage, and
13   locations in which Plaintiff’s products are sold. Accordingly, when offered by
14   Plaintiff, the article is inadmissible hearsay under Federal Rule of Evidence 802, and
15   there are no exclusions or exceptions under Federal Rules of Evidence 801 or 803 that
16   apply.
17   EXHIBIT NO. 149
18            Brief Description
19            Trial Exhibit No. 149 is an online article from third party Apteo Blog, titled
20   “The Guide to Google Shopping Optimization for Ecommerce Stores.”
21            Purpose for which Admission Is Sought
22            Trial Exhibit 149 is being offered to indicate how consumers use search engines
23   and online e-commerce marketplaces.
24            Basis for the Objection
25            Foundation (FRE 602) (Plaintiff cannot lay a foundation for a third-party
26   article); Hearsay (FRE 802) (offered for the truth of the statements therein and no
27   exception applies); and Improper Opinion Testimony (FRE 701) (Plaintiff has not
28   designated an expert on search engine optimization).

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 1          Offering Party’s Position
 2          Rob Wallace, an expert in the field of marketing, will testify as to the origin,
 3   nature, and providence of this marketing document. Mr. Wallace can also lay the
 4   foundation that this document is not hearsay under Rule 803 because it has
 5   circumstantial guarantees of trustworthiness.
 6          Objecting Party’s Position
 7          Trial Exhibit No. 149 is inadmissible because it lacks adequate foundation.
 8   Fed. R. Evid. 602. Plaintiff has indicated that Mr. Wallace “will testify as to the
 9   origin, nature, and providence of this document.” However, Mr. Wallace has no
10   knowledge of the meaning, purpose, or factual basis of an article written by a third
11   party with whom he has no affiliation, and thus, cannot provide a foundation for the
12   article.
13          Trial Exhibit No. 149 is inadmissible for the additional reason that it is hearsay
14   to which no exception applies. Fed. R. Evid. 802. Plaintiff seeks to offer this exhibit
15   at trial for the truth of the matters asserted therein, namely, the accuracy of the
16   article’s statements concerning how small companies in the e-commerce space may
17   struggle with creating awareness of their products and that such companies can
18   purportedly utilize Google tools such as Google Shopping Ads to generate more
19   convertible web traffic on their e-commerce cites. Accordingly, the article is
20   inadmissible hearsay under Federal Rule of Evidence 802, and there are no exclusions
21   or exceptions under Federal Rules of Evidence 801 or 803 that apply. Plaintiff also
22   has not identified any specific indicia of trustworthiness of this article or the
23   statements contained therein that would bring it within the residual exception to the
24   prohibition against hearsay.
25          Trial Exhibit No. 149 is also inadmissible because it constitutes improper
26   opinion testimony. Fed. R. Evid. 701. Plaintiff has not designated any expert in this
27   action to provide scientific and reliable opinions concerning search engine
28   optimization for e-commerce platforms that compiles with Federal Rule of Evidence

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 1   702. Instead, Plaintiff seeks to rely on a third-party article written by a lay person
 2   offering such opinions, which is impermissible under Federal Rule of Evidence 701.
 3   EXHIBIT NO. 198
 4         Brief Description
 5         Trial Exhibit No. 198 is an online article by third party Amazon regarding
 6   Plaintiff, titled “How a small, sustainable skin care brand became a best-selling
 7   Amazon partner.”
 8         Purpose for which Admission Is Sought
 9         Trial Exhibit No. 198 is offered to show media coverage of the Thrive marks at
10   issue and goes towards strength of the mark and value of the brand.
11         Basis for the Objection
12         Hearsay (FRE 802) (offered for the truth of the statements therein and no
13   exception applies).
14         Offering Party’s Position
15         Not hearsay because not offered for the truth of the matter asserted. Media
16   articles about the brand go to strength of mark and brand recognition and value,
17   regardless of whether the facts contained therein are accurate.
18         Objecting Party’s Position
19         Trial Exhibit No. 198 is inadmissible hearsay to which no exception applies.
20   Fed. R. Evid. 802. Plaintiff seeks to offer this third-party article at trial for the truth of
21   the matters asserted therein, namely, the accuracy of purported facts and
22   circumstances surrounding Plaintiff’s business relationship with Amazon.com, and
23   Plaintiff’s “growth” as a result. Accordingly, the article is inadmissible hearsay under
24   Federal Rule of Evidence 802, and there are no exclusions or exceptions under Federal
25   Rules of Evidence 801 or 803 that apply.
26   EXHIBIT NO. 204
27         Brief Description
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 1         Trial Exhibit No. 204 is an internal e-mail produced by Plaintiff in which one of
 2   Plaintiff’s personnel offers ideas regarding the running of Plaintiff’s blog.
 3         Purpose for which Admission Is Sought
 4         Trial Exhibit No. 204 is an email showing details of Plaintiff’s “Thrive Tribe”
 5   blog. Defendant began using “Thrive Tribe” to refer to its customer base after Plaintiff
 6   was already using “Thrive Tribe” in an identical manner to refer to its own customer
 7   base, resulting in a likelihood of confusion.
 8         Basis for the Objection
 9         Irrelevant (FRE 401; 402) (no evidence that blog was ever created by Plaintiff
10   or used by consumers) (Prejudice (FRE 403) (same).
11         Offering Party’s Position
12         Not unfairly prejudicial because it goes to likelihood of confusion. Testimony
13   from Alex McIntosh and this exhibit combined with other exhibits will demonstrate
14   that Thrive Tribe was, in fact, used on emails to consumers and in public-facing blog
15   posts and newsletters.
16         Objecting Party’s Position
17         Trial Exhibit No. 204 is irrelevant, prejudicial, misleading, and likely to cause
18   confusion. Fed. R. Evid. 401, 402, 403. Plaintiff seeks to offer this e-mail as
19   evidence respecting its use of the phrase “Thrive Tribe,” but the e-mail is purely
20   internal and describes “ideas” on how Plaintiff’s blog could be run, with a mock-up of
21   the blog reflecting those ideas. However, this is not a public-facing document and
22   there is no indication that the “Thrive Tribe – Blog” as shown in this exhibit – in
23   which the author concedes she has “just put some ideas together” and the contents
24   shown “don’t have to be on [sic] any specific order – was ever actually implemented,
25   much less in this form (and if Plaintiff contends that it was, then Plaintiff should have
26   produced the blog as actually presented to consumers, which it did not).
27   EXHIBIT NO. 227
28         Brief Description

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 1         Trial Exhibit No. 227 is a financial projection prepared by Plaintiff for the years
 2   2021-2025.
 3         Purpose for which Admission Is Sought
 4         Trial Exhibit 227 If necessary to support the conclusion that disgorgement of
 5   Defendants’ profits is for permissible purposes of compensation, prevention of unjust
 6   enrichment, and deterrence, rather than a penalty.
 7         Basis for the Objection
 8         Irrelevant (FRE 401; 402) (Plaintiff failed to disclose any theory or computation
 9   of actual damages in discovery).
10         Offering Party’s Position
11         This exhibit is relevant to disgorgement and other equitable relief. Additionally,
12   Plaintiff disputes that it has failed to disclose any theory of actual damages.
13         Objecting Party’s Position
14         Trial Exhibit No. 227, reflecting Plaintiff’s purported financial projections for
15   the next five years – is irrelevant to any issue in this action. Fed. R. Evid. 401, 402.
16   Plaintiff contends that it is relevant to “damages,” but Plaintiff does not have a claim
17   for actual damages in this action. On the contrary, in light of the Court’s ruling
18   granting Defendant’s motion for summary judgment as to Plaintiff’s claim for
19   corrective advertising and a reasonable royalty (ECF No. 114), Plaintiff’s only claim
20   for monetary relief is for disgorgement of Defendant’s profits. These speculative
21   projections of Plaintiff’s hoped-for financial performance are irrelevant to a claim for
22   Defendant’s profits, and in any event, Plaintiff never disclosed a damages theory or
23   calculation based on its projected financial performance. See Defendant’s Joint
24   Motion in Limine No. 1.
25   EXHIBIT NO. 260
26         Brief Description
27         The document produced at Bates range TCI_00019299-TCI_00019231 is a
28   Dec. 22, 2017 email exchange between TCI Founder and Chief Executive Officer

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 1   Karissa Bodnar and TCI employee Kate McDonald and includes an e-mail exchange
 2   between Margo Hays and Alex McIntosh.
 3         Purpose for which Admission Is Sought
 4         Plaintiff seeks to admit Trial Exhibit No. 28 because it shows TCI’s ongoing
 5   and continuous encounters with Plaintiff Thrive, including third parties reaching out
 6   to TCI to point out the similarities. It is also being introduced to show that Plaintiff
 7   Thrive’s efforts to build partnerships and investments have been thwarted by TCI’s
 8   encroachment on its brand name and mission.
 9         Basis for the Objection
10         Hearsay (FRE 802) (as to the e-mails between Margo Hays and Alex McIntosh;
11   offered for the truth of the matters asserted and no exception applies).
12         Offering Party’s Position
13         The e-mails between Margo Hays and Alex McIntosh are not being offered for
14   the truth of the facts asserted.
15         Objecting Party’s Position
16         Defendant does not seek to exclude the entirety of Trial Exhibit No. 260, but
17   instead seeks to exclude the portions of the e-mail chain that are inadmissible
18   hearsay. Trial Exhibit No. 260 contains e-mails exchanged between Alex McIntosh,
19   Plaintiff’s Chief Executive Officer, and a third party Margo Hays, regarding finding
20   investors for Plaintiff’s fundraising round. Plaintiff seeks to rely upon Mr.
21   McIntosh’s e-mails describing Plaintiff’s alleged business growth for the truth of the
22   matters asserted therein, namely, that it was “on track for 500%
23   growth.” Accordingly, the e-mails between Mr. McIntosh and Ms. Hays are
24   inadmissible hearsay under Federal Rule of Evidence 802, and there is no exclusion or
25   exception under Federal Rules of Evidence 801 or 803 that apply.
26   EXHIBIT NO. 261
27         Brief Description
28

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 1         The document produced at Bates range TCI_00019222 – TCI_00019228 is a
 2   Dec. 19, 2017 email exchange between TCI Founder and Chief Executive Officer
 3   Karissa Bodnar and TCI employee Kate McDonald and includes an e-mail exchange
 4   between Margo Hays and Alex McIntosh and the relevant e-mail attachments.
 5         Purpose for which Admission Is Sought
 6         Plaintiff seeks to admit Trial Exhibit No. 28 because it shows TCI’s ongoing
 7   and continuous encounters with Plaintiff Thrive, including third parties reaching out
 8   to TCI to point out the similarities. It is also being introduced to show that Plaintiff
 9   Thrive’s efforts to build partnerships and investments have been thwarted by TCI’s
10   encroachment on its brand name and mission.
11         Basis for the Objection
12         Hearsay (FRE 802) (as to the e-mails between Margo Hays and Alex McIntosh;
13   offered for the truth of the matters asserted and no exception applies)
14         Offering Party’s Position
15         The e-mails between Margo Hays and Alex McIntosh are not being offered for
16   the truth of the facts asserted.
17         Objecting Party’s Position
18         Defendant does not seek to exclude the entirety of Trial Exhibit No. 261, but
19   instead seeks to exclude the portions of the e-mail chain that are inadmissible
20   hearsay. Trial Exhibit No. 261 contains e-mails exchanged between Alex McIntosh,
21   Plaintiff’s Chief Executive Officer, and a third party Margo Hays, regarding finding
22   investors for Plaintiff’s fundraising round. Plaintiff seeks to rely upon Mr.
23   McIntosh’s e-mails describing Plaintiff’s alleged business growth for the truth of the
24   matters asserted therein, namely, that it was “on track for 500%
25   growth.” Accordingly, the e-mails between Mr. McIntosh and Ms. Hays are
26   inadmissible hearsay under Federal Rule of Evidence 802, and there is no exclusion or
27   exception under Federal Rule of Evidence 803 that apply to this document.
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 1   EXHIBIT NO. 298
 2          Brief Description
 3          The document produced with Bates number TNC01423 shows an email from
 4   Jim Geickie to Alex McIntosh and states that Mr. Geickie likes the scent of a shaving
 5   oil.
 6          Purpose for which Admission Is Sought
 7          This document is being introduced to show the chronology of use in commerce
 8   and use analogous to trademark use that leads to Thrive Natural Care’s first use date
 9   for its skincare products. This email reflects one of Thrive Natural Care’s first sales.
10          Basis for the Objection
11          Irrelevant (FRE 401; 402) (does not reflect a bona fide sale); Hearsay (FRE
12   802) (offered for the truth of the statements therein and no exception applies); and
13   Prejudice (FRE 403) (prejudicial, misleading, and confusing for the same reasons).
14          Offering Party’s Position
15          If Defendant believes that Trial Exhibit 298 does not reflect a bona fide sale,
16   then they can introduce evidence of that or cross Mr. McIntosh on it. It is highly
17   probative as to Plaintiff’s earliest uses in commerce of the THRIVE mark in relation
18   to skincare products. There is no undue prejudice to Defendant by simply showing an
19   email communication between Plaintiff and an early purchaser of Plaintiff’s products.
20   It is not hearsay because it is not being offered for the truth of the matter.
21          Objecting Party’s Position
22          Defendant seeks to exclude Trial Exhibit 298 because it is irrelevant,
23   prejudicial, and is inadmissible hearsay. Trial Exhibit 298 contains an email from Jim
24   Geickie to Alex McIntosh wherein Mr. Geickie gives positive feedback on a sample of
25   (presumably) Plaintiff’s shaving oil. Plaintiff seeks to rely upon the email describing
26   Plaintiff’s shaving oil for the truth of the matters asserted therein, namely attempting
27   to assert that this exchange reflects a bona fide sale, when in fact it most strongly
28   suggests a free sample for testing and feedback purposes. Accordingly, the email

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 1   from Mr. Geickie to Mr. McIntosh is inadmissible hearsay under Federal Rule of
 2   Evidence 802, and there is no exclusion or exception under Federal Rule of Evidence
 3   803 that apply to this document. Further, this document is irrelevant and TCI would
 4   be prejudiced by its admission for the same reasons stated above.
 5   EXHIBIT NO. 308
 6         Brief Description
 7         Exhibit C from the Declaration of A. McIntosh ISO Plaintiff’s Response to
 8   Additional Material Facts in Defendant’s Statement of Genuine Disputes, exhibiting a
 9   screenshot from Bloomingdale’s “Luxury Skincare” product page.
10         Purpose for which Admission Is Sought
11         Trial Exhibit 308 is introduced to show examples of price points of high-end
12   skincare products from Bloomingdale’s website.
13         Basis for the Objection
14         Hearsay (FRE 802) (offered for the truth of the statements therein and no
15   exception applies).
16         Offering Party’s Position
17         Alex McIntosh will testify as to the origin, nature, and providence of this
18   document, evidencing that it is not hearsay under Rule 803 because it has
19   circumstantial guarantees of trustworthiness as a screenshot of Bloomingdale’s
20   website.
21         Objecting Party’s Position
22         Defendant seeks to exclude Trial Exhibit 308 which contains a screenshot from
23   Bloomingdale’s “Luxury Skincare” product page. Plaintiff seeks to rely upon this
24   screenshot for the truth of the matters asserted therein, namely that Bloomingdales in
25   fact offers the pictured items for the prices shown within. Accordingly, the screenshot
26   from Bloomingdale’s “Luxury Skincare” product page are inadmissible hearsay under
27   Federal Rule of Evidence 802, and there is no exclusion or exception under Federal
28   Rules of Evidence 803 that apply to this document.

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 1   EXHIBIT NO. 317
 2           Brief Description
 3           The document produced with Bates number TNC03493 regarding an Amazon
 4   review that references mascara and describes Thrive as an “up and comer in the
 5   cosmetics field.”
 6           Purpose for which Admission Is Sought
 7           Exhibit 317 is being offered by Plaintiff to show actual confusion.
 8           Basis for the Objection
 9           Irrelevant (FRE 401; 402) (reflects alleged actual confusion stemming from
10   TCI’s color cosmetics, which are not at issue); Prejudice (FRE 403) (prejudicial,
11   misleading, and confusing for the same reasons); and Objection as duplicative of Ex.
12   No. 120.
13           Offering Party’s Position
14           This document shows that there is confusion as to the source of Thrive Natural
15   Care’s skincare products. It also supports the conclusion that future confusion between
16   the parties’ skincare products is all but certain if there is already some confusion even
17   excluding skincare products. Even if Thrive Natural Care is not explicitly accusing
18   TCI’s cosmetics products of infringing, it is still the case that confusion between
19   TCI’s cosmetics products and TNC’s skincare products is strong evidence that
20   consumers would therefore be even more confused between TCI’s skincare products
21   and TNC’s skincare products. This is especially true here, where the confusion is
22   dated June 2019, which is shortly after TCI began its large skincare product marketing
23   push.
24           Thrive Natural Care’s CEO, Alex McIntosh, will testify as to the origin, nature,
25   and providence of this document. It is relevant to consumer confusion, goes towards
26   evidence of actual consumer confusion between Plaintiff and Defendant. TCI has not
27   identified any actual prejudice caused by this evidence, beyond the fact of its
28   relevance to the likelihood of confusion analysis. No such unfair prejudice exists, and

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 1   certainly not in sufficient quantity to substantially outweigh the probative value of this
 2   actual confusion evidence.
 3         Objecting Party’s Position
 4         Trial Exhibit No. 317 is inadmissible because it is irrelevant. Fed. Rv. Evid.
 5   401, 402. The exhibit reflects alleged instances of actual confusion stemming from
 6   TCI’s color cosmetics products, for example, “Thrive is an up and comer in the
 7   cosmetics field. Their mascara is phenomenal and this facial moisturizer with
 8   sunscreen is a plus in their line.” In its First Amended Complaint, Plaintiff removed
 9   nearly all of its allegations concerning TCI’s color cosmetics products and does not
10   contend that TCI’s use of the term “thrive” in connection with its color cosmetics
11   products is infringing. See ECF No. 28 ¶ 62. Instead, Plaintiff’s claims are premised
12   entirely on TCI’s sale of skincare products. See generally ECF No. 28. Alleged
13   instances of actual confusion stemming from TCI’s color cosmetics are thus irrelevant
14   to and not probative of any actual confusion caused by TCI’s skincare products, the
15   only products subject to Plaintiff’s claims. For this same reason, Trial Exhibit No.
16   317 is prejudicial, misleading, and confusing and should be excluded under Federal
17   Rule of Evidence 403, because it relates to alleged confusion stemming from color
18   cosmetics products that are not infringing and as to which Plaintiff has no claims in
19   this action. Trial Exhibit No. 317 is also duplicative of and/or overlapping with Trial
20   Exhibit No. 120, supra.
21           DEFENDANT’S TRIAL EXHIBITS SUBJECT TO OBJECTION
22   EXHIBIT NO. 2
23         Brief Description
24         Trial Exhibit No. 2 is Defendant’s Revenue Information for Color Cosmetics
25   (2016 – 2021), produced at Bates numbers TCI_00022753-TCI_00022767.
26         Purpose for which Admission Is Sought
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 1         Defendant seeks to admit Trial Exhibit No. 2 to demonstrate the amount of
 2   Defendant’s costs related to the sale and production of its products, evidence of which
 3   Defendant is entitled to present to rebut Plaintiff’s damages claim.
 4         Basis for the Objection
 5         The “Other Overhead” tabulation of this exhibit (Sum of Other Overhead, Sum
 6   of Total Costs, and Sum of Net Income) are subject to pending Plaintiff's Motion In
 7   Limine No. 2 to Preclude Defendant from Offering Argument Regarding Its “Other
 8   Overhead”. Plaintiff objects to portions of this Trial Exhibit on the grounds of
 9   Relevance, FRE 401; Lacks probative value, FRE 403; and Waste of time, FRE 403.
10         Offering Party’s Position
11         Defendant notes that Plaintiff has included this exhibit in Plaintiff’s exhibit list,
12   thereby conceding its relevance. The final three columns (Sum of Other Overhead,
13   Sum of Total Costs, and Sum of Net Revenue) of the exhibit are relevant under Fed.
14   R. Evid. 401 and 402 because they are probative of TCI’s costs related to the sale and
15   production of its products, evidence of which TCI is entitled to present to rebut
16   Plaintiff’s damages claim. See 15 U.S.C. § 1117(a). For these same reasons, the
17   exhibit is not prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
18         Furthermore, the information reflected in the final three columns (Sum of Other
19   Overhead, Sum of Total Costs, and Sum of Net Revenue) is admissible for the
20   additional reasons explained in Defendant’s Opposition to Plaintiff’s Joint Motion in
21   Limine No. 2.
22         Objecting Party’s Position
23         The long version of Plaintiff’s argument can be found in its second motion in
24   limine. The Sum of Other Overhead, Sum of Total Costs, and Sum of Net Income
25   columns of this document contain irrelevant “costs” information. TCI’ expert witness
26   Karl Schulze and TCI’s CFO Menninger both freely admitted in their depositions: (1)
27   that the costs in the “Sum of Other Overhead” column of TCI’s revenue spreadsheets
28   is merely every single cost Thrive Causemetics Inc. incurred in any context

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 1   whatsoever that is not included elsewhere in TCI’s revenue document as an identified
 2   and deductible cost, and (2) that numerous categories of traditionally non-deductible
 3   costs are indiscriminately lumped into “Other Overhead”, including, but not limited
 4   to: income taxes, all other taxes paid by TCI, charitable donations, travel,
 5   entertainment, legal fees for this very lawsuit, legal fees for defending against a
 6   previous class action lawsuit, “general administrative costs”, “office expenses”, public
 7   relations, all of the company’ salaries and benefits, research and development costs
 8   (R&D), and rent.
 9         Furthermore, TCI has never provided an exhaustive list of every cost included
10   in “Other Overhead” nor, for the costs it has identified, provided evidence for what
11   percentage of Other Overhead any given cost is. So, if a single type of cost was
12   inappropriately included in “Other Overhead”, it would be impossible to know if that
13   cost was ninety-nine percent of the sum of Other Overhead or one-percent. If a single
14   one of those items is not a proper deductible cost, then the entire category of “Other
15   Overhead” must be excluded since TCI has never met its burden of presenting
16   evidence as to the amount of percentage of any particular item included in Other
17   Overhead. The other two categories, Sum of Total Costs, and Sum of Net Income, use
18   as part of their calculation the irrelevant “Other Overhead” numbers, and are thus
19   unreliable themselves.
20         TCI dumped 100% of its entire company’s remaining costs of any type, with
21   zero exceptions, into a bucket it calls “Other Overhead,” without disclosing precisely
22   what appears in that bucket other than giving vague examples, and without even a hint
23   as to how much to allocate to each item. That is fundamentally an improper “pure
24   allocation” of costs, which should be excluded. See Folkens v. Wyland, No. C-01-
25   1241 EDL, 2002 WL 1677708, at *5 (N.D. Cal. July 22, 2002).
26         Therefore, this category of “Other Costs”, and all analysis regarding it,
27   including TCI’s “Total Costs” and “Profits” numbers directly derived from its “Other
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 1   Costs” data, must all be excluded in their entirety as irrelevant, lacking probative
 2   value, and a waste of time.
 3   EXHIBIT NO. 3
 4         Brief Description
 5         Trial Exhibit No. 3 is Defendant’s Revenue Information for Skincare (2018 –
 6   Feb. 2021), produced at Bates TCI_00014424.
 7         Purpose for which Admission Is Sought
 8         Defendant seeks to admit Trial Exhibit No. 3 to demonstrate the amount of
 9   Defendant’s costs related to the sale and production of its products, evidence of which
10   Defendant is entitled to present to rebut Plaintiff’s damages claim.
11         Basis for the Objection
12         The “Other Overhead” tabulation of this exhibit (Sum of Other Overhead, Sum
13   of Total Costs, and Sum of Net Income) are subject to pending Plaintiff's Motion In
14   Limine No. 2 to Preclude Defendant from Offering Argument Regarding Its “Other
15   Overhead”. Plaintiff objects to portions of this Trial Exhibit on the grounds of
16   Relevance, FRE 401; Lacks probative value, FRE 403; and Waste of time, FRE 403.
17         Offering Party’s Position
18         Defendant notes that Plaintiff has included this exhibit in Plaintiff’s exhibit list,
19   thereby conceding its relevance. The final three columns (Sum of Other Overhead,
20   Sum of Total Costs, and Sum of Net Revenue) of the exhibit are relevant under Fed.
21   R. Evid. 401 and 402 because they are probative of TCI’s costs related to the sale and
22   production of its products, evidence of which TCI is entitled to present to rebut
23   Plaintiff’s damages claim. See 15 U.S.C. § 1117(a). For these same reasons, the
24   exhibit is not prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
25         Furthermore, the information reflected in the final three columns (Sum of Other
26   Overhead, Sum of Total Costs, and Sum of Net Revenue) is admissible for the
27   additional reasons explained in Defendant’s Opposition to Plaintiff’s Joint Motion in
28   Limine No. 2.

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 1         Objecting Party’s Position
 2         In an effort to reduce space and save the court's time, Plaintiff incorporates and
 3   refers to the same position as it made to Trial Exhibit 2, above and its second motion
 4   in limine. The objectionable issues between these two trial exhibits are identical.
 5   EXHIBIT NO. 38
 6         Brief Description
 7         Trial Exhibit No. 38 is Defendant’s Revenue Information, produced at Bates
 8   numbers TCI_00031132, TCI_00030183-TCI_00030184.
 9         Purpose for which Admission Is Sought
10         Defendant seeks to admit Trial Exhibit No. 38 to demonstrate the amount of
11   Defendant’s costs related to the sale and production of its products, evidence of which
12   Defendant is entitled to present to rebut Plaintiff’s damages claim.
13         Basis for the Objection
14         The “Other Overhead” tabulation of this exhibit (Sum of Other Overhead, Sum
15   of Total Costs, and Sum of Net Income) are subject to pending Plaintiff's Motion In
16   Limine No. 2 to Preclude Defendant from Offering Argument Regarding Its “Other
17   Overhead”. Plaintiff objects to portions of this Trial Exhibit on the grounds of
18   Relevance, FRE 401; Lacks probative value, FRE 403; and Waste of time, FRE 403.
19         Offering Party’s Position
20         Defendant notes that Plaintiff has included this exhibit in Plaintiff’s exhibit list,
21   thereby conceding its relevance. The final three columns (Sum of Other Overhead,
22   Sum of Total Costs, and Sum of Net Revenue) of the exhibit are relevant under Fed.
23   R. Evid. 401 and 402 because they are probative of TCI’s costs related to the sale and
24   production of its products, evidence of which TCI is entitled to present to rebut
25   Plaintiff’s damages claim. See 15 U.S.C. § 1117(a). For these same reasons, the
26   exhibit is not prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
27         Furthermore, the information reflected in the final three columns (Sum of Other
28   Overhead, Sum of Total Costs, and Sum of Net Revenue) is admissible for the

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 1   additional reasons explained in Defendant’s Opposition to Plaintiff’s Joint Motion in
 2   Limine No. 2.
 3           Objecting Party’s Position
 4           In an effort to reduce space and save the court's time, Plaintiff incorporates and
 5   refers to the same position as it made to Trial Exhibit 2, above and its second motion
 6   in limine. The objectionable issues between these two trial exhibits are identical.
 7   EXHIBIT NO. 364
 8           Brief Description
 9           Trial Exhibit No. 364 is United States Patent and Trademark Office Query
10   Results for the Term “thrive*” (accessed Aug. 22, 2021) (ECF No. 63-28).
11           Purpose for which Admission Is Sought
12           Defendant seeks to admit Trial Exhibit No. 364 to demonstrate the common and
13   pervasive use of the term “thrive” by third parties as a trademark or potential
14   trademark, which is probative of the conceptual strength (or lack thereof) of Plaintiff’s
15   mark.
16           Basis for the Objection
17           This exhibit is one of the exhibits subject to Plaintiff’s Motion in Limine No. 1
18   To Preclude Defendant from Offering Improper Evidence of Alleged Third Party uses
19   of “Thrive” Mark. Plaintiff objects to Exhibit 364 on the grounds of Relevance, FRE
20   401; Lacks probative value, FRE 403; and Waste of time, FRE 403.
21           Offering Party’s Position
22           Trial Exhibit No. 364 is relevant under Fed. R. Evid. 401 and 402 because it is
23   probative of the extent of third-party use of the term “thrive,” which is relevant to the
24   conceptual strength (or lack thereof) of Plaintiff’s mark for the likelihood of confusion
25   analysis. The exhibit reflects that over a thousand third parties are using or seek to
26   use the term “thrive” as a trademark or potential trademark, which illustrates that the
27   term “thrive” is common and ubiquitous, and certainly is not distinctive of Plaintiff or
28   Plaintiff’s products. There is no undue prejudice to Plaintiff in admitting evidence of

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 1   third-party use of the term “thrive,” and thus the exhibit is not prejudicial, confusing,
 2   or a waste of time under Fed. R. Evid. 403.
 3         Furthermore, Trial Exhibit No. 364 is admissible for the additional reasons
 4   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
 5         Objecting Party’s Position
 6         Trial Exhibit 364 is a printout from the United States Patent & Trademark
 7   Office website that shows every single trademark application or registration currently
 8   existing in the U.S. for a mark containing any iteration of the word “thrive,”
 9   regardless of what class it is in, whether the trademark is actually registered, whether
10   it is simply an “intent-to-use” application, and, perhaps most importantly, whether the
11   products or services described actually bear any relationship to skincare products.
12         With regard to other purported evidence of third-party use of a mark, “[t]he
13   probative value of third-party trademarks depends entirely upon their usage” and
14   “where the record includes no evidence of the extent of third party uses the probative
15   value of this evidence is minimal.” Palm Bay Imports v. Veuve Clicquot Ponsardin
16   Maison Fondee En 1772, 396 F.3d 1369, 1373 (Fed. Cir. 2005); see also Scarves by
17   Vera, Inc. v. Todo Imports Ltd., 544 F.2d 1167, 1173 (2d Cir. 1976) (“The
18   significance of third-party trademarks depends wholly upon their usage. Defendant
19   introduced no evidence that these trademarks were actually used by third parties, that
20   they were well promoted or that they were recognized by consumers.”). On these
21   grounds, in Buzzballz, L.L.C. v. Buzzbox Beverages, Inc., No. ED14-CV-01725-VAP-
22   DTBX, 2016 WL 7496769 (C.D. Cal. April 12, 2016), the court in this District
23   granted plaintiff’s motion in limine and excluded 10 alleged third-party trademark
24   uses because they were not for the same goods covered by the plaintiff’s trademark.
25   Id. at *2; see also Eclipse Assocs. Ltd. v. Data Gen. Corp., 894 F.2d 1114, 1119 (9th
26   Cir. 1990) (finding no error in excluding evidence of use of mark for goods in
27   unrelated field, because “[e]vidence of other unrelated potential infringers is irrelevant
28   to claims of trademark infringement and unfair competition under federal law.”). The

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 1   Buzzballz court then excluded the remaining 14 alleged third-party trademark uses
 2   because the defendant “has presented no evidence showing actual use.” 2016 WL
 3   7496769 at *3. According to Buzzballz, “Defendants must submit more than the
 4   homepage of a company’s website and lay a foundation for it to show each Mark is
 5   actually used in commerce.” Id.
 6         Similarly, in United Country Real Estate, LLC v. United Realty Group, No. 16-
 7   CV-60154, 2017 WL 1293618 at *5 (S.D. Fla. Feb. 27, 2017), the court excluded
 8   expert testimony regarding third-party usage of 66 similar trademarks. That testimony
 9   rested upon “a picture of a storefront advertising the trademark at issue to the public,
10   [and] a printout of a publicly accessible webpage bearing the mark.” Id. What was
11   missing, the court held, was “any information or data regarding the extent to which the
12   66 third-party marks have been used.” Id. Such evidence might include “the length of
13   time the brand had been in use; any advertising performed by the brand; any sales
14   completed by the brand; the quality of the brand’s products or services; the extent of
15   consumer exposure to the brand; or the particular services offered by the brand.” Id.
16   Thus, again, evidence of the extent of use of third-party trademarks was indispensable
17   to the admissibility of evidence of alleged third-party uses.
18         Here, TCI is seeking to use at trial a list of USPTO search results for the term
19   “thrive*”1 which shows 1,074 applications and registrations, not a single one of which
20   has any demonstrated relationship to skincare products. These search results are
21   significantly broader than those deemed irrelevant in Boldface, because here the
22   listings are not limited to Class 003, not limited to skincare products, and do not
23   exclude “intent-to-use” applications, but instead broadly cover any use of any iteration
24   of “thrive” in any context for any goods or services. TCI’s failure to limit the field to
25   1
       The asterisk is a wildcard in the search, so TCI’s results include not just registrations
     and applications with the word “thrive” but also any marks that have “thrive” as a root
26   to a longer word or variants of that word. This broad search function includes uses of
     thrive as a suffix, prefix, or in the middle of a much longer phrase or design logo. The
27   search captures many irrelevant results such as “WETHRIVV COMFORT” (Exhibit
     364, #67), “3IVELABS” (Id., #398), and even “SHUNXIN” (Id., #s 515-517), none of
28   which describe skincare products.
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 1   skincare products is one reason to exclude the search results. See Eclipse, 894 F.2d at
 2   1119; Buzzballz, 2016 WL 7496769, at *2. A second reason is that TCI has provided
 3   zero evidence that the marks on the list “were actually used in commerce and viewed
 4   by consumers” or that any use was significant enough to have “conditioned the mind
 5   of prospective purchasers.” Boldface, 940 F. Supp. 2d at 1191; McCarthy § 11:89 (4th
 6   ed. 2013); see also JaM Cellars, Inc. v. Vintage Wine Ests., Inc., No. 17-01133-CRB,
 7   2017 WL 2535864, at *5 (N.D. Cal. June 12, 2017) (rejecting list of trademark
 8   registrations containing the word BUTTER because “[t]hat a mark is registered does
 9   not establish how widely used it is; for example, who is to say that consumers ever
10   actually encounter BUTTERKISSED wine?”); Charles Schwab & Co., Inc. v.
11   Hibernia Bank, 665 F. Supp. 800, 806 (N.D. Cal. 1987) (rejecting trademark search
12   that disclosed over 40 current or past registrations as “not proof of third party uses.”)
13   Indeed, like the list in Boldface, TCI’s USPTO search results also include intent-to-
14   use applications, which by definition “cannot be proof that those marks are used in the
15   marketplace and viewed by consumers.” Boldface, 940 F. Supp. 2d at 1191 n.13.
16   Because of complete lack of evidence of use in the relevant field of skincare products,
17   this list of USPTO search results is irrelevant and prejudicial and should be excluded.
18   See Boldface, 940 F. Supp. 2d at 1191; Buzzballs, 2016 WL 7496769 at *3; Icon
19   Enters., 2004 WL 5644805, at *31.
20         As a closer examination of just how irrelevant the search results of Trial Exhibit
21   364 are, the first three search results on page one of the exhibit are described below.
22   The very first result is Serial Number 90502924, which is an application (not a
23   registration), for a service mark “ThrivePage” in services Class 41 for “self-
24   improvement coaching services” and in Class 42 for “business and self-improvement
25   coaching software-as-a-service”.
26         The second result is application number 90498830 for “THRLVEART” in class
27   16 for “art pictures on canvas”. This application does not even include the word
28

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 1   “thrive” or any iteration of it, much less does it have anything to do with skincare
 2   products.
 3         The third application on the list, number 90445305, is a service mark for
 4   “OVERCOME BURNOUT AND THRIVE” in Class 41 for educational workshops
 5   “in the field of preventing physical or mental collapse caused by overwork or stress.”
 6   Again, this is simply an application and it has nothing to do with the brand “Thrive”
 7   for Skincare Products. These applications for services not in the same universe as
 8   skincare products are not relevant to the issues the court is going to decide, and it is
 9   put forward as a blatant attempt to simply confuse the finder of fact into thinking there
10   are “1074” records of Thrive used for relevant products, which is not true.
11         Because there are zero limitations as to the parameters of this USPTO search,
12   and it includes intent-to-use-applications and over a thousand applications that have
13   nothing whatsoever to do with skincare products, Plaintiff would have to spend hours
14   of its time cross examining Defendant’s witness on hundreds of separate irrelevant
15   entries. This Exhibit must be excluded for being irrelevant, a waste of time, and
16   unduly prejudicial.
17   EXHIBIT NO. 365
18         Brief Description
19         Trial Exhibit No. 365 is an Amazon Webpage for Third Party Ashford Point
20   LLC’s Thrive Therapeutic Cold Therapy Packs, Therapeutic Hot Therapy Packs, and
21   First Aid Kits (accessed Aug. 23, 2021) (ECF No. 63-30).
22         Purpose for which Admission Is Sought
23         Defendant seeks to admit Trial Exhibit No. 365 to demonstrate the common,
24   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
25   connection with goods that are substantially similar to Plaintiff’s.
26
27         Basis for the Objection
28

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                       JOINT BRIEF CONCERNING EVIDENTIARY OBJECTIONS
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 1          This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
 2   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
 3   probative value, confusing, and a waste of time under FRE 403.
 4          Offering Party’s Position
 5          Trial Exhibit No. 365 is relevant under Fed. R. Evid. 401 and 402 because it is
 6   probative of the extent of third-party use of the term “thrive,” which is relevant to the
 7   conceptual strength (or lack thereof) of Plaintiff’s mark for the likelihood of confusion
 8   analysis. The exhibit reflects a third party’s ongoing use of a mark similar to
 9   Plaintiff’s mark in connection with personal and body care goods, which are
10   substantially similar to Plaintiff’s personal care goods, and illustrates that the term
11   “thrive” is common and ubiquitous, and certainly is not distinctive of Plaintiff or
12   Plaintiff’s products. There is no undue prejudice to Plaintiff in admitting evidence of
13   third-party use of the term “thrive,” and thus the exhibit is not prejudicial, confusing,
14   or a waste of time under Fed. R. Evid. 403.
15          Furthermore, Trial Exhibit No. 365 is admissible for the additional reasons
16   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
17          Objecting Party’s Position
18          Plaintiff objects to Trial Exhibit No. 365 because there is no allegation that it
19   shows “Thrive” used to sell skincare products. Instead, “Thrive” is apparently used to
20   sell “first aid kits”. First aid kits are not on trial here: only skincare products, lotions
21   and creams are. Plaintiff is not attempting in this lawsuit to expand its trademark
22   rights beyond exactly what is stated in its trademark registrations, i.e., skincare
23   products, namely, lotions and creams. That “Thrive” may be used to sell other
24   products, such as first aid kits, is simply not relevant to this case and is a complete
25   waste of time. To the extent that Defendant has evidence of “Thrive” being used to
26   sell skincare products such as lotions and creams, Plaintiff has no general objection to
27   that evidence. But since that evidence is few and far between, Defendant has tried to
28   make up for it and waste time by introducing uses of Thrive that are simply not at

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 1   issue in this litigation. There is also no evidence as to the extent of the use of this
 2   mark, which alone makes this Exhibit inadmissible.
 3         “The probative value of third-party trademarks depends entirely upon their
 4   usage” and “where the record includes no evidence of the extent of third party uses the
 5   probative value of this evidence is minimal.” Palm Bay Imports v. Veuve Clicquot
 6   Ponsardin Maison Fondee En 1772, 396 F.3d 1369, 1373 (Fed. Cir. 2005); see also
 7   Scarves by Vera, Inc. v. Todo Imports Ltd., 544 F.2d 1167, 1173 (2d Cir. 1976) (“The
 8   significance of third-party trademarks depends wholly upon their usage. Defendant
 9   introduced no evidence that these trademarks were actually used by third parties, that
10   they were well promoted or that they were recognized by consumers.”). On these
11   grounds, in Buzzballz, L.L.C. v. Buzzbox Beverages, Inc., No. ED14-CV-01725-VAP-
12   DTBX, 2016 WL 7496769 (C.D. Cal. April 12, 2016), the court in this District
13   granted plaintiff’s motion in limine and excluded 10 alleged third-party trademark
14   uses because they were not for the same goods covered by the plaintiff’s trademark.
15   Id. at *2; see also Eclipse Assocs. Ltd. v. Data Gen. Corp., 894 F.2d 1114, 1119 (9th
16   Cir. 1990) (finding no error in excluding evidence of use of mark for goods in
17   unrelated field, because “[e]vidence of other unrelated potential infringers is irrelevant
18   to claims of trademark infringement and unfair competition under federal law.”). The
19   Buzzballz court then excluded the remaining 14 alleged third-party trademark uses
20   because the defendant “has presented no evidence showing actual use.” 2016 WL
21   7496769 at *3. According to Buzzballz, “Defendants must submit more than the
22   homepage of a company’s website and lay a foundation for it to show each Mark is
23   actually used in commerce.” Id.
24         Similarly, in United Country Real Estate, LLC v. United Realty Group, No. 16-
25   CV-60154, 2017 WL 1293618 at *5 (S.D. Fla. Feb. 27, 2017), the court excluded
26   expert testimony regarding third-party usage of 66 similar trademarks. That testimony
27   rested upon “a picture of a storefront advertising the trademark at issue to the public,
28   [and] a printout of a publicly accessible webpage bearing the mark.” Id. What was

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 1   missing, the court held, was “any information or data regarding the extent to which the
 2   66 third-party marks have been used.” Id. Such evidence might include “the length of
 3   time the brand had been in use; any advertising performed by the brand; any sales
 4   completed by the brand; the quality of the brand’s products or services; the extent of
 5   consumer exposure to the brand; or the particular services offered by the brand.” Id.
 6   Thus, again, evidence of the extent of use of third-party trademarks was indispensable
 7   to the admissibility of evidence of alleged third-party uses.
 8         Accordingly, this Exhibit must be excluded since it does not purport to show
 9   skincare products, namely lotions or creams, and because Defendant has not shown
10   the extent of this third party’s use.
11   EXHIBIT NO. 366
12         Brief Description
13         Trial Exhibit No. 366 is Third Party Naked + Thriving LLC’s Home Webpage
14   (accessed Aug. 23, 2021) (ECF No. 63-31).
15         Purpose for which Admission Is Sought
16         Defendant seeks to admit Trial Exhibit No. 366 to demonstrate the common,
17   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
18   connection with goods that are substantially similar to Plaintiff’s.
19         Basis for the Objection
20         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
21   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
22   probative value, confusing, and a waste of time under FRE 403.
23         Offering Party’s Position
24         Trial Exhibit No. 366 is relevant under Fed. R. Evid. 401 and 402 because it is
25   probative of the extent of third-party use of the term “thrive,” which is relevant to the
26   conceptual strength (or lack thereof) of Plaintiff’s mark for the likelihood of confusion
27   analysis. The exhibit reflects a third party’s ongoing use of a mark similar to
28   Plaintiff’s mark in connection with personal and body care goods, specifically body

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 1   and skin oils, which are substantially similar to Plaintiff’s personal care goods, and
 2   illustrates that the term “thrive” is common and ubiquitous, and certainly is not
 3   distinctive of Plaintiff or Plaintiff’s products. There is no undue prejudice to Plaintiff
 4   in admitting evidence of third-party use of the term “thrive,” and thus the exhibit is
 5   not prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
 6         Furthermore, Trial Exhibit No. 366 is admissible for the additional reasons
 7   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
 8         Objecting Party’s Position
 9         Plaintiff objects to Trial Exhibit No. 366 because there no evidence as to the
10   extent of the use of this mark, which alone makes this Exhibit inadmissible as
11   irrelevant, prejudicial, and a waste of time.
12         “The probative value of third-party trademarks depends entirely upon their
13   usage” and “where the record includes no evidence of the extent of third party uses the
14   probative value of this evidence is minimal.” Palm Bay Imports v. Veuve Clicquot
15   Ponsardin Maison Fondee En 1772, 396 F.3d 1369, 1373 (Fed. Cir. 2005); see also
16   Scarves by Vera, Inc. v. Todo Imports Ltd., 544 F.2d 1167, 1173 (2d Cir. 1976) (“The
17   significance of third-party trademarks depends wholly upon their usage. Defendant
18   introduced no evidence that these trademarks were actually used by third parties, that
19   they were well promoted or that they were recognized by consumers.”). On these
20   grounds, in Buzzballz, L.L.C. v. Buzzbox Beverages, Inc., No. ED14-CV-01725-VAP-
21   DTBX, 2016 WL 7496769 (C.D. Cal. April 12, 2016), the court in this District
22   granted plaintiff’s motion in limine and excluded 10 alleged third-party trademark
23   uses because they were not for the same goods covered by the plaintiff’s trademark.
24   Id. at *2; see also Eclipse Assocs. Ltd. v. Data Gen. Corp., 894 F.2d 1114, 1119 (9th
25   Cir. 1990) (finding no error in excluding evidence of use of mark for goods in
26   unrelated field, because “[e]vidence of other unrelated potential infringers is irrelevant
27   to claims of trademark infringement and unfair competition under federal law.”). The
28   Buzzballz court then excluded the remaining 14 alleged third-party trademark uses

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 1   because the defendant “has presented no evidence showing actual use.” 2016 WL
 2   7496769 at *3. According to Buzzballz, “Defendants must submit more than the
 3   homepage of a company’s website and lay a foundation for it to show each Mark is
 4   actually used in commerce.” Id.
 5         Similarly, in United Country Real Estate, LLC v. United Realty Group, No. 16-
 6   CV-60154, 2017 WL 1293618 at *5 (S.D. Fla. Feb. 27, 2017), the court excluded
 7   expert testimony regarding third-party usage of 66 similar trademarks. That testimony
 8   rested upon “a picture of a storefront advertising the trademark at issue to the public,
 9   [and] a printout of a publicly accessible webpage bearing the mark.” Id. What was
10   missing, the court held, was “any information or data regarding the extent to which the
11   66 third-party marks have been used.” Id. Such evidence might include “the length of
12   time the brand had been in use; any advertising performed by the brand; any sales
13   completed by the brand; the quality of the brand’s products or services; the extent of
14   consumer exposure to the brand; or the particular services offered by the brand.” Id.
15   Thus, again, evidence of the extent of use of third-party trademarks was indispensable
16   to the admissibility of evidence of alleged third-party uses.
17         Accordingly, this Exhibit must be excluded because Defendant has not shown
18   the extent of this third party’s use.
19
20   EXHIBIT NO. 367
21         Brief Description
22         Trial Exhibit No. 367 is Third Party I25X, LLC’s ithriveX Performance
23   Collection’s Webpage (accessed Aug. 23, 2021) (ECF No. 63-32).
24         Purpose for which Admission Is Sought
25         Defendant seeks to admit Trial Exhibit No. 367 to demonstrate the common,
26   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
27   connection with goods that are substantially similar to Plaintiff’s.
28         Basis for the Objection

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 1         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
 2   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
 3   probative value, confusing, and a waste of time under FRE 403.
 4         Offering Party’s Position
 5         Trial Exhibit No. 367 is relevant under Fed. R. Evid. 401 and 402 because it is
 6   probative of the extent of third-party use of the term “thrive,” which is relevant to the
 7   conceptual strength (or lack thereof) of Plaintiff’s mark for the likelihood of confusion
 8   analysis. The exhibit reflects a third party’s ongoing use of a mark similar to
 9   Plaintiff’s mark in connection with personal and body care goods, specifically lotion
10   and creams, which are substantially similar to Plaintiff’s personal care goods, and
11   illustrates that the term “thrive” is common and ubiquitous, and certainly is not
12   distinctive of Plaintiff or Plaintiff’s products. There is no undue prejudice to Plaintiff
13   in admitting evidence of third-party use of the term “thrive,” and thus the exhibit is
14   not prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
15         Furthermore, Trial Exhibit No. 367 is admissible for the additional reasons
16   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
17         Objecting Party’s Position
18         In an effort to reduce space and save the court's time, Plaintiff incorporates and
19   refers to the same position as it made to Trial Exhibit 366, above. The objectionable
20   issues between these two trial exhibits are identical.
21         Accordingly, this Exhibit must be excluded because Defendant has not shown
22   the extent of this third party’s use.
23   EXHIBIT NO. 368
24         Brief Description
25         Trial Exhibit No. 368 is Third Party Surthrival LLC’s Home Webpage
26   (accessed Aug. 23, 2021) (ECF No. 63-33).
27         Purpose for which Admission Is Sought
28

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 1         Defendant seeks to admit Trial Exhibit No. 368 to demonstrate the common,
 2   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
 3   connection with goods that are substantially similar to Plaintiff’s.
 4         Basis for the Objection
 5         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
 6   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
 7   probative value, confusing, and a waste of time under FRE 403.
 8         Offering Party’s Position
 9         Trial Exhibit No. 368 is relevant under Fed. R. Evid. 401 and 402 because it is
10   probative of the extent of third-party use of the term “thrive,” which is relevant to the
11   conceptual strength (or lack thereof) of Plaintiff’s mark for the likelihood of confusion
12   analysis. The exhibit reflects a third party’s ongoing use of a mark similar to
13   Plaintiff’s mark in connection with personal and body care goods, specifically non-
14   medicated essential oils and medicated serums for use on the skin and lips,, which are
15   substantially similar to Plaintiff’s personal care goods, and illustrates that the term
16   “thrive” is common and ubiquitous, and certainly is not distinctive of Plaintiff or
17   Plaintiff’s products. There is no undue prejudice to Plaintiff in admitting evidence of
18   third-party use of the term “thrive,” and thus the exhibit is not prejudicial, confusing,
19   or a waste of time under Fed. R. Evid. 403.
20         Furthermore, Trial Exhibit No. 367 is admissible for the additional reasons
21   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
22         Objecting Party’s Position
23         Plaintiff objects to Trial Exhibit No. 368 because there is no allegation that it
24   shows “Thrive” used to sell skincare products. Instead, “Thrive” is apparently used to
25   sell vitamins and supplements, which are an entirely different class of products
26   according to the USPTO (Class 3 skincare products compared to Class 5 supplement
27   and vitamin products). Neither Plaintiff nor Defendant sells vitamins or supplements.
28   Vitamins and supplements are not on trial here: only skincare products, lotions and

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 1   creams are. Plaintiff is not attempting in this lawsuit to expand its trademark rights
 2   beyond exactly what is stated in its trademark registrations, i.e., skincare products,
 3   namely, lotions and creams. That “Thrive” may be used to sell other products, such as
 4   ingested supplement products, is simply not relevant to this case and is a complete
 5   waste of time. To the extent that Defendant has evidence of “Thrive” being used to
 6   sell skincare products such as lotions and creams, Plaintiff has no general objection to
 7   that evidence. But since that evidence is few and far between, Defendant has tried to
 8   make up for it and waste time by introducing uses of Thrive that are simply not at
 9   issue in this litigation. There is also no evidence as to the extent of the use of this
10   mark, which alone makes this Exhibit inadmissible.
11         “The probative value of third-party trademarks depends entirely upon their
12   usage” and “where the record includes no evidence of the extent of third party uses the
13   probative value of this evidence is minimal.” Palm Bay Imports v. Veuve Clicquot
14   Ponsardin Maison Fondee En 1772, 396 F.3d 1369, 1373 (Fed. Cir. 2005); see also
15   Scarves by Vera, Inc. v. Todo Imports Ltd., 544 F.2d 1167, 1173 (2d Cir. 1976) (“The
16   significance of third-party trademarks depends wholly upon their usage. Defendant
17   introduced no evidence that these trademarks were actually used by third parties, that
18   they were well promoted or that they were recognized by consumers.”). On these
19   grounds, in Buzzballz, L.L.C. v. Buzzbox Beverages, Inc., No. ED14-CV-01725-VAP-
20   DTBX, 2016 WL 7496769 (C.D. Cal. April 12, 2016), the court in this District
21   granted plaintiff’s motion in limine and excluded 10 alleged third-party trademark
22   uses because they were not for the same goods covered by the plaintiff’s trademark.
23   Id. at *2; see also Eclipse Assocs. Ltd. v. Data Gen. Corp., 894 F.2d 1114, 1119 (9th
24   Cir. 1990) (finding no error in excluding evidence of use of mark for goods in
25   unrelated field, because “[e]vidence of other unrelated potential infringers is irrelevant
26   to claims of trademark infringement and unfair competition under federal law.”). The
27   Buzzballz court then excluded the remaining 14 alleged third-party trademark uses
28   because the defendant “has presented no evidence showing actual use.” 2016 WL

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 1   7496769 at *3. According to Buzzballz, “Defendants must submit more than the
 2   homepage of a company’s website and lay a foundation for it to show each Mark is
 3   actually used in commerce.” Id.
 4         Similarly, in United Country Real Estate, LLC v. United Realty Group, No. 16-
 5   CV-60154, 2017 WL 1293618 at *5 (S.D. Fla. Feb. 27, 2017), the court excluded
 6   expert testimony regarding third-party usage of 66 similar trademarks. That testimony
 7   rested upon “a picture of a storefront advertising the trademark at issue to the public,
 8   [and] a printout of a publicly accessible webpage bearing the mark.” Id. What was
 9   missing, the court held, was “any information or data regarding the extent to which the
10   66 third-party marks have been used.” Id. Such evidence might include “the length of
11   time the brand had been in use; any advertising performed by the brand; any sales
12   completed by the brand; the quality of the brand’s products or services; the extent of
13   consumer exposure to the brand; or the particular services offered by the brand.” Id.
14   Thus, again, evidence of the extent of use of third-party trademarks was indispensable
15   to the admissibility of evidence of alleged third-party uses.
16         Accordingly, this Exhibit must be excluded since it does not purport to show
17   skincare products, namely lotions or creams (instead it only shows Thrive as used on
18   vitamins), and because Defendant has not shown the extent of this third party’s use.
19   EXHIBIT NO. 370
20         Brief Description
21         Trial Exhibit No. 370 is Third Party Le-Vel Brands, LLC’s Skin Products
22   Webpage (accessed Aug. 23, 2021) (ECF No. 63-35).
23         Purpose for which Admission Is Sought
24         Defendant seeks to admit Trial Exhibit No. 370 to demonstrate the common,
25   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
26   connection with goods that are substantially similar to Plaintiff’s.
27         Basis for the Objection
28

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 1         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
 2   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
 3   probative value, confusing, and a waste of time under FRE 403.
 4         Offering Party’s Position
 5         Trial Exhibit No. 370 is relevant under Fed. R. Evid. 401 and 402 because it is
 6   probative of the extent of third-party use of the term “thrive,” which is relevant to the
 7   conceptual strength (or lack thereof) of Plaintiff’s mark for the likelihood of confusion
 8   analysis. The exhibit reflects a third party’s ongoing use of a mark similar to
 9   Plaintiff’s mark in connection with skincare products, which are substantially similar
10   to Plaintiff’s goods, and illustrates that the term “thrive” is common and ubiquitous,
11   and certainly is not distinctive of Plaintiff or Plaintiff’s products. There is no undue
12   prejudice to Plaintiff in admitting evidence of third-party use of the term “thrive,” and
13   thus the exhibit is not prejudicial, confusing, or a waste of time under Fed. R. Evid.
14   403. Indeed, Plaintiff has filed a lawsuit against Le-Vel Brands, LLC alleging
15   trademark infringement concerning Lev-Brand’s use of the term “thrive” on its
16   products, and thus Plaintiff has no credible basis to claim that evidence of Le-Vel’s
17   ongoing use of the term “thrive” is irrelevant or prejudicial. See Thrive Natural Care,
18   Inc. v. Le-Vel Brands, LLC, No. 2:21-CV-02022-DOC-KES (C.D. Cal.) (filed March
19   4, 2021).
20         Furthermore, Trial Exhibit No. 370 is admissible for the additional reasons
21   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
22         Objecting Party’s Position
23         In an effort to reduce space and save the court's time, Plaintiff incorporates and
24   refers to the same position as it made to Trial Exhibit 366, above. The objectionable
25   issues between these two trial exhibits are identical.
26         Accordingly, this Exhibit must be excluded because Defendant has not shown
27   the extent of this third party’s use.
28

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 1   EXHIBIT NO. 371
 2         Brief Description
 3         Trial Exhibit No. 371 is Third Party Simplythrive, LLC’s Home Webpage
 4   (accessed Aug. 23, 2021) (ECF No. 63-36).
 5         Purpose for which Admission Is Sought
 6         Defendant seeks to admit Trial Exhibit No. 371 to demonstrate the common,
 7   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
 8   connection with goods that are substantially similar to Plaintiff’s.
 9         Basis for the Objection
10         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
11   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
12   probative value, confusing, and a waste of time under FRE 403.
13         Offering Party’s Position
14         Trial Exhibit No. 371 is relevant under Fed. R. Evid. 401 and 402 because it is
15   probative of the extent of third-party use of the term “thrive,” which is relevant to the
16   conceptual strength (or lack thereof) of Plaintiff’s mark for the likelihood of confusion
17   analysis. The exhibit reflects a third party’s ongoing use of a mark similar to
18   Plaintiff’s mark in connection with online ordering services featuring toiletries and
19   fragrances, personal care products that are substantially similar to Plaintiff’s goods,
20   and illustrates that the term “thrive” is common and ubiquitous, and certainly is not
21   distinctive of Plaintiff or Plaintiff’s products. There is no undue prejudice to Plaintiff
22   in admitting evidence of third-party use of the term “thrive,” and thus the exhibit is
23   not prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
24         Furthermore, Trial Exhibit No. 371 is admissible for the additional reasons
25   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
26         Objecting Party’s Position
27
28

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 1         In an effort to reduce space and save the court's time, Plaintiff incorporates and
 2   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
 3   issues between these two trial exhibits are identical.
 4         Accordingly, this Exhibit must be excluded since it does not purport to show
 5   skincare products, namely lotions or creams (instead it only shows Thrive as used on
 6   vitamins), and because Defendant has not shown the extent of this third party’s use.
 7   EXHIBIT NO. 380
 8         Brief Description
 9         Trial Exhibit No. 380 is an e-mail exchange between Phil Segal and Alex
10   McIntosh dated August 12, 2019, which was produced at Bates numbers TNC00835-
11   TNC00837.
12         Purpose for which Admission Is Sought
13         Defendant seeks to admit Trial Exhibit No. 380 because it is probative of
14   Plaintiff’s understanding of the reasons for Defendant’s commercial success, none of
15   which are related to Defendant’s use of the brand name THRIVE CAUSEMETICS.
16   The exhibit supports Defendant’s position that it did not derive a benefit from the use
17   of the term “thrive” in its brand name.
18         Basis for the Objection
19         Trial Exhibit No. 380 is inadmissible hearsay being offered for the truth of the
20   matter asserted. No exceptions to hearsay apply. It is also expert testimony from a lay
21   witness, which is improper under FRE 701. It is also not the Best Evidence, and so is
22   improper under Rule 1002 because it is a summary of a media interview with Ms.
23   Bodnar instead of simply providing the text of the interview itself. For those reasons,
24   it is also unduly prejudicial, lacks probative value, is irrelevant, and a waste of time
25   under FRE 401 and 403.
26         Offering Party’s Position
27         Trial Exhibit No. 380 is relevant under Fed. R. Evid. 401 and 402 because it is
28   probative of the reasons that Defendant has achieved commercial success that are

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 1   unrelated to its use of the brand name THRIVE CAUSEMETICS. This is relevant to
 2   Defendant’s assertion that it did not derive any benefit from use of the term “thrive,”
 3   but rather, its commercial success is driven by significant support from female
 4   consumers as well as high-quality products. There is no undue prejudice in admitting
 5   evidence of Plaintiff’s own assessment and evaluation of the reasons for Defendant’s
 6   commercial success. Thus, the exhibit is not prejudicial, confusing, or a waste of time
 7   under Fed. R. Evid. 403.
 8         Trial Exhibit No. 380 is an admission of an opposing party and thus not hearsay
 9   under Fed. R. Evid. 801(d)(2). The exhibit is also a business record and thus falls
10   within the exception of Fed. R. Evid. 803(6), and can in any event be relied upon by
11   Defendant’s expert witness.
12         Trial Exhibit No. 380 is also not improper expert testimony or opinion
13   testimony by a lay witness because Alex McIntosh is a party opponent and Phil Segal
14   is an agent of Plaintiff, both of whom are percipient witnesses who may offer their
15   personal observations of the reasons for Defendant’s commercial success.
16         Objecting Party’s Position
17         Trial Exhibit No. 380 is hearsay because it’s being offered for the truth of the
18   matter asserted. It is not an “admission” since Phil Segal, the author of the email, is
19   not a party to this lawsuit, nor is he an employee or agent of Plaintiff Thrive Natural
20   Care. Nor is there any evidence or analysis that this email from a third party somehow
21   constitutes a “business record”.
22         Furthermore, Mr. Segal is simply summarizing with bullet points what
23   Defendant’s CEO, Ms. Bodnar, said in an interview. He is not offering his own
24   opinion on the matter. By introducing this into evidence, TCI is attempting to launder
25   their own CEO’s quotes from a puff-piece media interview as if they are an expert
26   opinion from Phil Segal who is simply summarizing what Ms. Bodnar said.
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 1         This is only not the best evidence of what is said in the article. The article itself
 2   is the best evidence of what is said in the article, but Defendant does not offer that into
 3   evidence.
 4         Phil Segal is not an expert. Mr. Segal is a lay witness, so this analysis is
 5   improper under FRE 701. It is not alleged that he has any special knowledge
 6   whatsoever of TCI beyond what he read in the Bodnar interview. TCI should not be
 7   able to introduce contents of this email essentially as if its an analysis from an
 8   independent expert, when it is truly just hearsay from someone who is not an expert
 9   and is simply parroting Ms. Bodnar’s talking points. For those reasons, the document
10   is irrelevant, a waste of time, unduly prejudicial, and lacks probative value.
11   EXHIBIT NO. 428
12         Brief Description
13         Trial Exhibit No. 428 is the United States Patent and Trademark office
14   Trademark Electronic Search System record for the mark SURTHRIVAL (accessed
15   October 14, 2021).
16         Purpose for which Admission Is Sought
17         Defendant seeks to admit Trial Exhibit No. 428 to demonstrate the common,
18   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
19   connection with goods that are substantially similar to Plaintiff’s.
20         Basis for the Objection
21         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
22   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
23   probative value, confusing, and a waste of time under FRE 403.
24         Offering Party’s Position
25         The exhibit is relevant under Fed. R. Evid. 401 and 402 because it is probative
26   of the extent of third-party use of the term “thrive,” which is relevant to the conceptual
27   strength of Plaintiff’s mark for the likelihood of confusion analysis. A third party has
28   registered and is using the mark SURTHRIVAL, which incorporates virtually all (and

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 1   phonetically, all) of Plaintiff’s purported mark THRIVE, in connection with personal
 2   care and skincare goods, specifically non-medicated essential oils and medicated
 3   serums for use on the skin and lips, which are substantially related to Plaintiff’s
 4   personal care goods, namely, skincare products, lotions, and creams. The exhibit
 5   reflects ongoing third-party use of a similar mark in connection with substantially
 6   similar goods as Plaintiff’s. There is no undue prejudice to Plaintiff in admitting
 7   evidence of third-party use of the term “thrive,” which is probative of the conceptual
 8   weakness of Plaintiff’s mark, and thus the exhibit is not prejudicial, confusing, or a
 9   waste of time under Fed. R. Evid. 403.
10         Furthermore, Trial Exhibit No. 428 is admissible for the additional reasons
11   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
12         Objecting Party’s Position
13         In an effort to reduce space and save the court's time, Plaintiff incorporates and
14   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
15   issues between these two trial exhibits are identical.
16         Accordingly, this Exhibit must be excluded since it does not purport to show
17   skincare products, namely lotions or creams (instead it only shows Thrive as used on
18   vitamins), and because Defendant has not shown the extent of this third party’s use.
19   EXHIBIT NO. 429
20         Brief Description
21         Trial Exhibit No. 429 is the United States Patent and Trademark office
22   Trademark Electronic Search System record for the mark THRIVE EVERY DAY
23   (accessed October 14, 2021).
24         Purpose for which Admission Is Sought
25         Defendant seeks to admit Trial Exhibit No. 429 to demonstrate the common,
26   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
27   connection with goods that are substantially similar to Plaintiff’s.
28         Basis for the Objection

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 1         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
 2   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
 3   probative value, confusing, and a waste of time under FRE 403.
 4         Offering Party’s Position
 5         Trial Exhibit No. 429 exhibit is relevant under Fed. R. Evid. 401 and 402
 6   because it is probative of the extent of third-party use of the term “thrive,” which is
 7   relevant to the conceptual strength of Plaintiff’s mark for the likelihood of confusion
 8   analysis. A third party has registered and is using the mark THRIVE EVERY DAY,
 9   which incorporates Plaintiff’s purported mark THRIVE, in connection with personal
10   care goods, specifically essential oils for use in aromatherapy, which are substantially
11   related to Plaintiff’s personal care goods, namely, skincare products, lotions, and
12   creams. The exhibit reflects ongoing third-party use of a similar mark in connection
13   with substantially similar goods as Plaintiff’s. There is no undue prejudice to Plaintiff
14   in admitting evidence of third-party use of the term “thrive,” which is probative of the
15   conceptual weakness of Plaintiff’s mark, and thus the exhibit is not prejudicial,
16   confusing, or a waste of time under Fed. R. Evid. 403.
17         Furthermore, Trial Exhibit No. 429 is admissible for the additional reasons
18   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
19         Objecting Party’s Position
20         In an effort to reduce space and save the court's time, Plaintiff incorporates and
21   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
22   issues between these two trial exhibits are identical.
23         Accordingly, this Exhibit must be excluded since it does not purport to show
24   skincare products, namely lotions or creams and because Defendant has not shown the
25   extent of this third party’s use.
26   EXHIBIT NO. 430
27         Brief Description
28

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 1         Trial Exhibit No. 430 is the United States Patent and Trademark office
 2   Trademark Electronic Search System record for the mark THRIVE HEALTH
 3   CENTER (accessed October 14, 2021).
 4         Purpose for which Admission Is Sought
 5         Defendant seeks to admit Trial Exhibit No. 430 to demonstrate the common,
 6   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
 7   connection with goods that are substantially similar to Plaintiff’s.
 8         Basis for the Objection
 9         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
10   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
11   probative value, confusing, and a waste of time under FRE 403.
12         Offering Party’s Position
13         Trial exhibit No. 430 is relevant under Fed. R. Evid. 401 and 402 because it is
14   probative of the extent of third-party use of the term “thrive,” which is relevant to the
15   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
16   third party has registered and is using the mark THRIVE HEALTH CENTER, which
17   incorporates Plaintiff’s purported mark THRIVE, in connection with personal care
18   goods and services, including but not limited to “deep tissue moisturization,”
19   “facials,” and “skin care,” which are substantially related to Plaintiff’s personal care
20   goods, namely, skincare products, lotions, and creams. The exhibit reflects ongoing
21   third-party use of a similar mark in connection with substantially similar goods and
22   services as Plaintiff’s. There is no undue prejudice to Plaintiff in admitting evidence
23   of third-party use of the term “thrive,” which is probative of the conceptual weakness
24   of Plaintiff’s mark, and thus the exhibit is not prejudicial, confusing, or a waste of
25   time under Fed. R. Evid. 403.
26         Furthermore, Trial Exhibit No. 430 is admissible for the additional reasons
27   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
28         Objecting Party’s Position

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 1         In an effort to reduce space and save the court's time, Plaintiff incorporates and
 2   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
 3   issues between these two trial exhibits are identical.
 4         Accordingly, this Exhibit must be excluded since it does not purport to show
 5   skincare products, namely lotions or creams and because Defendant has not shown the
 6   extent of this third party’s use.
 7   EXHIBIT NO. 431
 8         Brief Description
 9         Trial Exhibit No. 431 is the United States Patent and Trademark office
10   Trademark Electronic Search System record for the mark THRIVE WEIGH LESS.
11   LIVE LONGER (accessed October 14, 2021).
12         Purpose for which Admission Is Sought
13         Defendant seeks to admit Trial Exhibit No. 431 to demonstrate the common,
14   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
15   connection with goods that are substantially similar to Plaintiff’s.
16         Basis for the Objection
17         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
18   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
19   probative value, confusing, and a waste of time under FRE 403.
20
21         Offering Party’s Position
22         Trial Exhibit No. 431 is relevant under Fed. R. Evid. 401 and 402 because it is
23   probative of the extent of third-party use of the term “thrive,” which is relevant to the
24   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
25   third party has registered and is using the mark THRIVE WEIGH LESS. LIVE
26   LONGER, which incorporates Plaintiff’s purported mark THRIVE, in connection
27   with personal care and skincare goods and services, including specifically “facials and
28   skin care,” which are substantially related to Plaintiff’s personal care goods, namely,

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 1   skincare products, lotions, and creams. The exhibit reflects ongoing third-party use of
 2   a similar mark in connection with substantially similar goods as Plaintiff’s. There is
 3   no undue prejudice to Plaintiff in admitting evidence of third-party use of the term
 4   “thrive,” which is probative of the conceptual weakness of Plaintiff’s mark, and thus
 5   the exhibit is not prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
 6         Furthermore, Trial Exhibit No. 431 is admissible for the additional reasons
 7   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
 8         Objecting Party’s Position
 9         In an effort to reduce space and save the court's time, Plaintiff incorporates and
10   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
11   issues between these two trial exhibits are identical.
12         Accordingly, this Exhibit must be excluded since it does not purport to show
13   skincare products, namely lotions or creams and because Defendant has not shown the
14   extent of this third party’s use.
15   EXHIBIT NO. 435
16         Brief Description
17         Trial Exhibit No. 435 is Third Party The Wakaya Group’s Products Webpage
18   (accessed Aug. 23, 2021) (ECF No. 63-29).
19         Purpose for which Admission Is Sought
20         Defendant seeks to admit Trial Exhibit No. 435 to demonstrate the common,
21   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
22   connection with goods that are substantially similar to Plaintiff’s.
23         Basis for the Objection
24         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
25   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
26   probative value, confusing, and a waste of time under FRE 403.
27         Offering Party’s Position
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 1         Trial exhibit No. 435 is relevant under Fed. R. Evid. 401 and 402 because it is
 2   probative of the extent of third-party use of the term “thrive,” which is relevant to the
 3   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
 4   third party has registered and is using the mark EAT. DRINK. THRIVE., which
 5   incorporates Plaintiff’s purported mark THRIVE, in connection with personal care
 6   and skincare goods, including specifically “Apothecary products, namely, non-
 7   medicated sea salt for use as bath salts; non-medicated skin preparations, namely, sea
 8   salt exfoliator for skin and body,” which are substantially related to Plaintiff’s
 9   personal care goods, namely, skincare products, lotions, and creams. The exhibit
10   reflects ongoing third-party use of a similar mark in connection with bodycare sea salt
11   products, and the mark EAT. DRINK. THRIVE. appears at the bottom of the product
12   description. There is no undue prejudice to Plaintiff in admitting evidence of third-
13   party use of the term “thrive,” which is probative of the conceptual weakness of
14   Plaintiff’s mark, and thus the exhibit is not prejudicial, confusing, or a waste of time
15   under Fed. R. Evid. 403.
16         Furthermore, Trial Exhibit No. 435 is admissible for the additional reasons
17   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
18         Objecting Party’s Position
19         In an effort to reduce space and save the court's time, Plaintiff incorporates and
20   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
21   issues between these two trial exhibits are identical.
22         Accordingly, this Exhibit must be excluded since it does not purport to show
23   skincare products, namely lotions or creams (here, it only shows use on sea salts) and
24   because Defendant has not shown the extent of this third party’s use.
25   EXHIBIT NO. 442
26         Brief Description
27         Trial Exhibit No. 442 is the SURTHRIVAL Home webpage (accessed October
28   14, 2021).

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 1         Purpose for which Admission Is Sought
 2         Defendant seeks to admit Trial Exhibit No. 442 to demonstrate the common,
 3   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
 4   connection with goods that are substantially similar to Plaintiff’s.
 5         Basis for the Objection
 6         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
 7   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
 8   probative value, confusing, and a waste of time under FRE 403.
 9         Offering Party’s Position
10         Trial Exhibit No. 442 is relevant under Fed. R. Evid. 401 and 402 because it is
11   probative of the extent of third-party use of the term “thrive,” which is relevant to the
12   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
13   third party has registered and is using the mark SURTHRIVAL, which incorporates
14   virtually all (and phonetically, all) of Plaintiff’s purported mark THRIVE, in
15   connection with skincare goods, specifically non-medicated essential oils and
16   medicated serums for use on the skin and lips, which are substantially related to
17   Plaintiff’s goods, namely, skincare products, lotions, and creams. The exhibit reflects
18   ongoing third-party use of a similar mark in connection with substantially similar
19   goods as Plaintiff’s. There is no undue prejudice to Plaintiff in admitting evidence of
20   third-party use of the term “thrive,” which is probative of the conceptual weakness of
21   Plaintiff’s mark, and thus the exhibit is not prejudicial, confusing, or a waste of time
22   under Fed. R. Evid. 403.
23         Furthermore, Trial Exhibit No. 442 is admissible for the additional reasons
24   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
25         Objecting Party’s Position
26         In an effort to reduce space and save the court's time, Plaintiff incorporates and
27   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
28   issues between these two trial exhibits are identical.

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 1         Accordingly, this Exhibit must be excluded since it does not purport to show
 2   skincare products, namely lotions or creams, and because Defendant has not shown
 3   the extent of this third party’s use.
 4   EXHIBIT NO. 443
 5         Brief Description
 6         Trial Exhibit No. 443 is the SURTHRIVAL, Products webpage (accessed
 7   October 14, 2021).
 8         Purpose for which Admission Is Sought
 9         Defendant seeks to admit Trial Exhibit No. 443 to demonstrate the common,
10   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
11   connection with goods that are substantially similar to Plaintiff’s.
12         Basis for the Objection
13         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
14   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
15   probative value, confusing, and a waste of time under FRE 403.
16         Offering Party’s Position
17         Trial Exhibit No. 443 is relevant under Fed. R. Evid. 401 and 402 because it is
18   probative of the extent of third-party use of the term “thrive,” which is relevant to the
19   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
20   third party has registered and is using the mark SURTHRIVAL, which incorporates
21   virtually all (and phonetically, all) of Plaintiff’s purported mark THRIVE, in
22   connection with skincare goods, specifically non-medicated essential oils and
23   medicated serums for use on the skin and lips, which are substantially related to
24   Plaintiff’s goods, namely, skincare products, lotions, and creams. The exhibit reflects
25   ongoing third-party use of a similar mark in connection with substantially similar
26   goods as Plaintiff’s. There is no undue prejudice to Plaintiff in admitting evidence of
27   third-party use of the term “thrive,” which is probative of the conceptual weakness of
28

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 1   Plaintiff’s mark, and thus the exhibit is not prejudicial, confusing, or a waste of time
 2   under Fed. R. Evid. 403.
 3         Furthermore, Trial Exhibit No. 443 is admissible for the additional reasons
 4   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
 5         Objecting Party’s Position
 6         In an effort to reduce space and save the court's time, Plaintiff incorporates and
 7   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
 8   issues between these two trial exhibits are identical.
 9         Accordingly, this Exhibit must be excluded since it does not purport to show
10   skincare products, namely lotions or creams, and because Defendant has not shown
11   the extent of this third party’s use.
12   EXHIBIT NO. 444
13         Brief Description
14         Trial Exhibit No. 444 is The Vitamin Shoppe’s Home webpage (accessed
15   October 14, 2021).
16         Purpose for which Admission Is Sought
17         Defendant seeks to admit Trial Exhibit No. 444 to demonstrate the common,
18   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
19   connection with goods that are substantially similar to Plaintiff’s.
20         Basis for the Objection
21         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
22   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
23   probative value, confusing, and a waste of time under FRE 403.
24         Offering Party’s Position
25         Trial Exhibit No. 444 is relevant under Fed. R. Evid. 401 and 402 because it is
26   probative of the extent of third-party use of the term “thrive,” which is relevant to the
27   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
28   third party has registered and is using the mark THRIVE EVERY DAY, which

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 1   incorporates Plaintiff’s purported mark THRIVE, in connection with personal care
 2   goods, specifically essential oils for use in aromatherapy, which are substantially
 3   related to Plaintiff’s personal care goods, namely, skincare products, lotions, and
 4   creams. The exhibit reflects ongoing third-party use of a similar mark in connection
 5   with substantially similar goods as Plaintiff’s. There is no undue prejudice to Plaintiff
 6   in admitting evidence of third-party use of the term “thrive,” which is probative of the
 7   conceptual weakness of Plaintiff’s mark, and thus the exhibit is not prejudicial,
 8   confusing, or a waste of time under Fed. R. Evid. 403.
 9         Furthermore, Trial Exhibit No. 444 is admissible for the additional reasons
10   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
11         Objecting Party’s Position
12         In an effort to reduce space and save the court's time, Plaintiff incorporates and
13   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
14   issues between these two trial exhibits are identical.
15         Accordingly, this Exhibit must be excluded since it does not purport to show
16   skincare products, namely lotions or creams (here, only vitamins), and because
17   Defendant has not shown the extent of this third party’s use.
18
19   EXHIBIT NO. 445
20         Brief Description
21         Trial exhibit No. 445 is The Vitamin Shoppe’s THRIVE EVERY DAY
22   Products webpage (accessed October 14, 2021).
23         Purpose for which Admission Is Sought
24         Defendant seeks to admit Trial Exhibit No. 445 to demonstrate the common,
25   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
26   connection with goods that are substantially similar to Plaintiff’s.
27         Basis for the Objection
28

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 1         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
 2   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
 3   probative value, confusing, and a waste of time under FRE 403.
 4         Offering Party’s Position
 5         Trial Exhibit No. 445 is relevant under Fed. R. Evid. 401 and 402 because it is
 6   probative of the extent of third-party use of the term “thrive,” which is relevant to the
 7   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
 8   third party has registered and is using the mark THRIVE EVERY DAY, which
 9   incorporates Plaintiff’s purported mark THRIVE, in connection with personal care
10   goods, specifically essential oils for use in aromatherapy, which are substantially
11   related to Plaintiff’s personal care goods, namely, skincare products, lotions, and
12   creams. The exhibit reflects ongoing third-party use of a similar mark in connection
13   with substantially similar goods as Plaintiff’s. There is no undue prejudice to Plaintiff
14   in admitting evidence of third-party use of the term “thrive,” which is probative of the
15   conceptual weakness of Plaintiff’s mark, and thus the exhibit is not prejudicial,
16   confusing, or a waste of time under Fed. R. Evid. 403.
17         Furthermore, Trial Exhibit No. 445 is admissible for the additional reasons
18   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
19         Objecting Party’s Position
20         In an effort to reduce space and save the court's time, Plaintiff incorporates and
21   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
22   issues between these two trial exhibits are identical.
23         Accordingly, this Exhibit must be excluded since it does not purport to show
24   skincare products, namely lotions or creams, and because Defendant has not shown
25   the extent of this third party’s use.
26   EXHIBIT NO. 446
27         Brief Description
28

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 1         Trial Exhibit No. 446 is the THRIVE HEALTH CENTERS Home webpage
 2   (accessed October 14, 2021).
 3         Purpose for which Admission Is Sought
 4         Defendant seeks to admit Trial Exhibit No. 446 to demonstrate the common,
 5   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
 6   connection with goods that are substantially similar to Plaintiff’s.
 7         Basis for the Objection
 8         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
 9   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
10   probative value, confusing, and a waste of time under FRE 403.
11         Offering Party’s Position
12         Trial Exhibit No. 446 is relevant under Fed. R. Evid. 401 and 402 because it is
13   probative of the extent of third-party use of the term “thrive,” which is relevant to the
14   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
15   third party has registered and is using the mark THRIVE HEALTH CENTER, which
16   incorporates Plaintiff’s purported mark THRIVE, in connection with personal care
17   goods and services, including but not limited to “deep tissue moisturization,”
18   “facials,” and “skin care,” which are substantially related to Plaintiff’s personal care
19   goods, namely, skincare products, lotions, and creams. The exhibit reflects ongoing
20   third-party use of a similar mark in connection with substantially similar goods and
21   services as Plaintiff’s. There is no undue prejudice to Plaintiff in admitting evidence
22   of third-party use of the term “thrive,” which is probative of the conceptual weakness
23   of Plaintiff’s mark, and thus the exhibit is not prejudicial, confusing, or a waste of
24   time under Fed. R. Evid. 403.
25         Furthermore, Trial Exhibit No. 446 is admissible for the additional reasons
26   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
27         Objecting Party’s Position
28

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 1         In an effort to reduce space and save the court's time, Plaintiff incorporates and
 2   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
 3   issues between these two trial exhibits are identical.
 4         Accordingly, this Exhibit must be excluded since it does not purport to show
 5   skincare products, namely lotions or creams, and because Defendant has not shown
 6   the extent of this third party’s use.
 7   EXHIBIT NO. 447
 8         Brief Description
 9         Trial Exhibit No. 447 is the THRIVE HEALTH CENTERS Products webpage
10   (accessed October 14, 2021).
11         Purpose for which Admission Is Sought
12         Defendant seeks to admit Trial Exhibit No. 447 to demonstrate the common,
13   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
14   connection with goods that are substantially similar to Plaintiff’s.
15         Basis for the Objection
16         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
17   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
18   probative value, confusing, and a waste of time under FRE 403.
19         Offering Party’s Position
20         Trial Exhibit No. 447 The exhibit is relevant under Fed. R. Evid. 401 and 402
21   because it is probative of the extent of third-party use of the term “thrive,” which is
22   relevant to the conceptual strength of Plaintiff’s mark for the likelihood of confusion
23   analysis. A third party has registered and is using the mark THRIVE HEALTH
24   CENTER, which incorporates Plaintiff’s purported mark THRIVE, in connection with
25   personal care goods and services, including but not limited to “deep tissue
26   moisturization,” “facials,” and “skin care,” which are substantially related to
27   Plaintiff’s personal care goods, namely, skincare products, lotions, and creams. The
28   exhibit reflects ongoing third-party use of a similar mark in connection with

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 1   substantially similar goods and services as Plaintiff’s. There is no undue prejudice to
 2   Plaintiff in admitting evidence of third-party use of the term “thrive,” which is
 3   probative of the conceptual weakness of Plaintiff’s mark, and thus the exhibit is not
 4   prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
 5         Furthermore, Trial Exhibit No. 447 is admissible for the additional reasons
 6   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
 7         Objecting Party’s Position
 8         In an effort to reduce space and save the court's time, Plaintiff incorporates and
 9   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
10   issues between these two trial exhibits are identical.
11         Accordingly, this Exhibit must be excluded since it does not purport to show
12   skincare products, namely lotions or creams, and because Defendant has not shown
13   the extent of this third party’s use.
14   EXHIBIT NO. 448
15         Brief Description
16         Trial Exhibit No. 448 is the THRIVE WEIGH LESS LIVE LONGER Home
17   webpage (accessed October 14, 2021).
18         Purpose for which Admission Is Sought
19         Defendant seeks to admit Trial Exhibit No. 448 to demonstrate the common,
20   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
21   connection with goods that are substantially similar to Plaintiff’s.
22         Basis for the Objection
23         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
24   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
25   probative value, confusing, and a waste of time under FRE 403.
26         Offering Party’s Position
27         Trial Exhibit No. 448 is relevant under Fed. R. Evid. 401 and 402 because it is
28   probative of the extent of third-party use of the term “thrive,” which is relevant to the

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 1   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
 2   third party has registered and is using the mark THRIVE WEIGH LESS. LIVE
 3   LONGER, which incorporates Plaintiff’s purported mark THRIVE, in connection
 4   with personal care and skincare goods and services, including specifically “facials and
 5   skin care,” which are substantially related to Plaintiff’s personal care goods, namely,
 6   skincare products, lotions, and creams. The exhibit reflects ongoing third-party use of
 7   a similar mark in connection with substantially similar goods as Plaintiff’s. There is
 8   no undue prejudice to Plaintiff in admitting evidence of third-party use of the term
 9   “thrive,” which is probative of the conceptual weakness of Plaintiff’s mark, and thus
10   the exhibit is not prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
11         Furthermore, Trial Exhibit No. 448 is admissible for the additional reasons
12   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
13         Objecting Party’s Position
14         In an effort to reduce space and save the court's time, Plaintiff incorporates and
15   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
16   issues between these two trial exhibits are identical.
17         Accordingly, this Exhibit must be excluded since it does not purport to show
18   skincare products, namely lotions or creams, and because Defendant has not shown
19   the extent of this third party’s use.
20   EXHIBIT NO. 449
21         Brief Description
22         Trial Exhibit No. 449 is the THRIVE WEIGH LESS LIVE LONGER Products
23   webpage (accessed October 14, 2021).
24         Purpose for which Admission Is Sought
25         Defendant seeks to admit Trial Exhibit No. 449 to demonstrate the common,
26   ongoing, and pervasive use of the term “thrive” by third parties as a trademark in
27   connection with goods that are substantially similar to Plaintiff’s.
28         Basis for the Objection

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 1         This trial exhibit is subject to Plaintiff’s Motion in Limine No. 1. Plaintiff
 2   objects that this trial exhibit is irrelevant under FRE 401, and unduly prejudicial, lacks
 3   probative value, confusing, and a waste of time under FRE 403.
 4         Offering Party’s Position
 5         Trial Exhibit No. 449 is relevant under Fed. R. Evid. 401 and 402 because it is
 6   probative of the extent of third-party use of the term “thrive,” which is relevant to the
 7   conceptual strength of Plaintiff’s mark for the likelihood of confusion analysis. A
 8   third party has registered and is using the mark THRIVE WEIGH LESS. LIVE
 9   LONGER, which incorporates Plaintiff’s purported mark THRIVE, in connection
10   with personal care and skincare goods and services, including specifically “facials and
11   skin care,” which are substantially related to Plaintiff’s personal care goods, namely,
12   skincare products, lotions, and creams. The exhibit reflects ongoing third-party use of
13   a similar mark in connection with substantially similar goods as Plaintiff’s. There is
14   no undue prejudice to Plaintiff in admitting evidence of third-party use of the term
15   “thrive,” which is probative of the conceptual weakness of Plaintiff’s mark, and thus
16   the exhibit is not prejudicial, confusing, or a waste of time under Fed. R. Evid. 403.
17         Furthermore, Trial Exhibit No. 449 is admissible for the additional reasons
18   explained in Defendant’s Opposition to Plaintiff’s Joint Motion in Limine No. 1.
19         Objecting Party’s Position
20         In an effort to reduce space and save the court's time, Plaintiff incorporates and
21   refers to the same position as it made to Trial Exhibit 368, above. The objectionable
22   issues between these two trial exhibits are identical.
23         Accordingly, this Exhibit must be excluded since it does not purport to show
24   skincare products, namely lotions or creams, and because Defendant has not shown
25   the extent of this third party’s use.
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      DATED: October 15, 2021                The McArthur Law Firm, PC
 3
 4
                                             By: /s/ Stephen McArthur
 5                                               Stephen McArthur
 6
                                                   Attorneys for Plaintiff
 7                                                 Thrive Natural Care, Inc.
 8
 9    DATED: October 15, 2021                SIDLEY AUSTIN, LLP
10
11                                           By: /s/ Rollin A. Ransom
                                                 Rollin A. Ransom
12
13                                                 Attorneys for Defendant
                                                   Thrive Causemetics, Inc.
14
15
                      ATTESTATION UNDER LOCAL RULE 5-4.3.4
16
           I, Thomas Dietrich, am the ECF User whose ID and password are being used to
17
     file this Stipulation. In compliance with Local Rule 5-4.3.4(a)(2), I hereby attest that
18
     Rollin Ransom has concurred in this filing.
19
20
     Dated: October 15, 2021                    /s/ Thomas Dietrich
21                                              Thomas Dietrich
22
23
24
25
26
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28

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                       JOINT BRIEF CONCERNING EVIDENTIARY OBJECTIONS
